Case 2:75-cv-04111-DDP Document 252-2 Filed 11/22/10 Page 1of 79 Page ID #:3265

EXHIBIT 4_
 

 
 

 

Hine

 
 

 

* AMERICAN crviL LIBERTIES: UNION. OF

   

  
  
 

 

)
SOUTHERN CALIFORNIA, Ince, .et ale, ) oe yi tr aes
Pes © | JUDGMENT - "
oO Petitioners, “.) sGRANTING PEREMPTORY WRIT :
13)] “SOF MANDATE
WS. }
14 We, ote oT Lf oS fe : . me ce oe ) : -
-: PETER J. PITCHESS, et al...” : * oz 2h
15 - “Department: 85. _
' .Respondents.: spate: February 14, 1980
6-16 Cla Timer 9 a.m. -
wi ‘the above-entitled matter having come on regularly

gg] for trial in ‘Department 85 of this Court on February: 14,

 

90)) - 1960, the. Honorable Jerry. Pacht, Judge Presiding, | ce
petitioners being represented by Terry Snerling, tthe County .
respo.Jents being represented by Philip BE. Hickok, Deputy

 
  

County Counsel, and the state esponde nts. being Represented...

 

Sear

having been presented and considered): the matter argued and

21
22
23
oon gall by. James Re. -Lahana,. ‘Deputy: “attorney &
2
26 Bubmitted and good cause appearing therefor,

97 - _. YY IS BEREBY ORDERED, ADJUDGED, AND DECREED AS

 

98|| FOLLOWS: ATTACH QO “USER 19: (cont)

 

74

 

 

 
 

    

 

 

 

 

Ost. a

 

 

   

 

Brand Institute for Women within thirty (30) days: 20

Court. retains jurisdiction to supervise ¢ this:

 

 

11 : “application for ‘Licensure. = .

12], . 3. petitioners shall recover their costs. oo, oe
13}} ae: an award: of fees, if anye for. petitioners* . .

“uM “attorneys shall be determined by this court subsequently pen
15|| . _Sppropriate motion. —_ - 2

agi “DATED: fehl y 3980 OO fo & a

all oe . . on
19 ~ Judge off “the ‘Superior Court .

20 2

21

 
  

  

PHILIP Ho HICKOK ERAY SHERET

James 0 kehann by €. be

 

JAMES R. LAHANA
Attorney for State Respondents

ATTACHED T 'UtSER 10 (éorth)
~“ .

7

 

Ak Orney for County Respondents Attorney for. ‘Petitionetk © OES

 
 

 

   

 

-MEDICAL:FACILITIES —

 

- As"you are aware, at our October 27, 1980 meeting attended by yourself
ara Mr. Bill Kern as vell as Mr.’ Leon Stein of the Office of ‘the State |
Architect, Los Angeles, Mr. Paul Botica, Associate Architect, you were
advised that the buildings do not meet present seismic structural re—.-
quirements end that the Code requires that they-be structurally rein-

forced prior to licensing the existing medical facilities.

" Since that time, our office has sought legal confirmation of our advice.
Our legal department has just forwarded a request.to the Attorney General =
for an opinion, and you will be advised as soon as an answer is received...

We would suggest awaiting that opinion before determining how to proceed.

Sincerely, =.

Victor M. Moran
‘Supervising Architect
Division of Facilities Development

     

ec: Larry G. Meeks/Chief/DFD ©
_”” Don depheatt/0SA/SACTO
Leon Stein/OSA/LA
Paul Botica/DFD/LA —
_ Joe Symkowick/LEGAL/SACTO

 

 

. 2 RECEIVED
FEB 13 1981
ATTACHE ST SUULER 16 (cont) ' BONNIE NORMAN

7 oe ° . |
 

 

 

County of Los Angeles
Office of the S ‘heriff

ms peters. PITCHES, sence

Los 2 Angee. Colifrnia | sca

  

 

Mr. ‘Mitchel Kotula, “District Administrator
" Leeénsing and Certification Division

. State Department ‘of -Health. Services ._.

28 Civic Center Plaza, Room 850

Santa Ana, ‘(California 92701

 

 

Dear. Mr. Kotula:

Attached you will find two sets of Licensure ‘applications
pertaining to our facilities.

if additional information is needed, _you may contact | whe
at. (213) 974-5045... -

Sincerely,

PETER J. PITCIIESS, _ SHERIFF . = ig

Low Aebaen Derren)

_,BONNIE NORMAN, DIRECTOR
“WEDICAL SERVICES BUREAU

BN/ca - o z

 

‘Attachments: (2) a . S ea oS a
William H. Kern

Kelsea K. Baggett .
Mike Henry

ATTACH E:T Dir aeR 1

77

voce) RD OMESS ALL COMMUNICATIONS 70 SETH 2 PITCHESS Bmearee
 

Filed 11/22/10 “F

DEPANTHIN or weaita’

 

 

 

 

 

. We wish to make certain that our. “records correctly show the effective date of the ownership change. .
This date-should reflect the actual date on which you took charge of. ‘the finencial management of the .
facility rather than the date of sale or date of State. license change. = ce, ee Se ee

 

 

Would you please enter this effective date in the space provided at the ‘bottom of this page. We also
request that you or your: tepresentative and if possible the previous: ‘emer. sign this form in -
quadruplicate and return four copies S along with any ‘other material we, shave asked you to return,

 

WA

EFFECTIVE DATE OF CHARGE OF OWNERSHIP

 

   

N/A mo “WA

- SIGNATURE (FOR WEw OWNER) . SiGuaTyRe (FOR PRLVIOUS CONGR

 

 

 

County of Los Angeles ‘s Po.
(Same Owner) ~ N/A wee es
MAME OF MEW GOWER PARTHEASKIP, OF . MAME OF =SEVIOUS OWNER, PARTHERSMEP, of,
CORPORATE CuTETY Sars OR CORPC” ATE ENTITY

 

 

 

ATTACH CSOT SHruvEi? 11 (cont}

Le 320 (a7 74)

 
ean INSURANCE BENEFITS scree
(Agreement with Provider of Services Pursuant to
Section 1866 of the Social Security Act)

      

~ 1866(aX1) from charging such individual or such other person;

 

(B) ‘to feturn any moneys incorrectly collected from’such individual or such person,
“orto make such other disposition as may be specified in'fegulations, — oe

  

sop rR. This agreeni¢nt, upon submission by the provide Of services of acceptable assur
“ -. ante of compliance with the requireménts-of Title V1 of the Civil Rights Act of 1964, and
.5 ... ., Mpon acceptance for filing, by the Secretary of Health, Education, and Welfare,:shall be
binding on such provider of services and the Secretary. -The agreement may be terminated
"by either party in accordance with the provisions of section 1§66(b}.1) and (2) of the Social
Security Act and regulations thereunder, In the event of such termination, the obligations
of the Secretary to make payment to the provider of services pursuant to this agreement
Shall be abrogated to the extent specified in section 1§66(bX3), (4) and (5) of such Act
-and regulations thereunder. oe Te .

 

_-:- This agreement shall become effective when accepted for filing by the Secretary or
- his. delogate. ~ \

 

 

3 In the event of a transfer of ovenership of the provider’ |

a of serrices under conditions specified incregulolions, THIS ~
<_. | AGREEMENT SHALL NOT REMAIN EFFECTIVE os between |
~ the Secretory of Health, Education, and’Welfare and the

 

 

 

 

 

 

transferee.
Oe Accepted for Secretary of
~ For Provider of Services by: Health, Education, and Welfare by:
Bonnie Normans - =
_ Name — . . Name

Hospital Administrator

 

 

 

 

 

wees Tithe Tile
‘February 2, 198) a
Date Date
ronm SSA-1567 (12-00; . :
. ATTACH INT PIEISER 12 (con*).

73

 
    
   

 

 

Document 252:2 “Filéd 11/22/10 Page 10°F 79 Page: D:

 

STATEMENT OF FINANCIAL SOLVENCY —

eding to niake a judgment of bankruptey or insolvency with
respect to the provider of services is not pending in a State or Federal court.

 

 

_ “In addition; the provider of Services agrees to inform the Secretary of Health has f
Education, and Welfare, through the Bureau of Health Insurance Regional Office, immediately if,
: F to the eptance of the Health Insurance Benefits ‘Agreement by the Secretary of Health,
ducation, and Welfare, a court proceeding to make a judgment of insolvency or. bankruptcy is in-
SUiluted. with respect to the provider of. services, =. me

  

  
  
 

 

 

   

 

 

FOR PROVIDER OF SERVICES BY:

- Mame OF AUTHORIZES OFRICIET (Please type)

 

TITLE
> Bonnie Norman

 

Hospital Administrator
Gna tueg OF auTHomitEen Oerigiar

February 2, 19
Form HCFA-2572 (9-72) (Formerly SSA-2572)

 

 

ATTACHMENT (USSR 21 (eont)

&G

 
  

 

 

 

 

pte AT TON, AND NE “LP ARE RE GUL vrion. TADER |
TELE M OF THE CIVIL RG UWS ACK OF 904 :

 

nts: imposed . by ‘OF "pursuant ¢ to the Regulation:
AAS CER F Pat. BOY issued pursuant to that titles

ational origin, che vicluded- from. participation ds
subiccted to discrimination under any program or a detviny

 

I a any: ‘real propert P Y structure thereon j is provided of ‘iiproved with the aid. of Federal financial
-assistance cxtcaded=to -the-Appticant. by the Dupartment, this assurance: -shall obligate the:
Applicant, of in the case of any transfer of such property, any transferee, fot: the period during

 
 
   

which the real property or structure is uscd for a purpose for which the Federal financial assist- | - -
ance is extended or for another purpose involving the. provision of similar services or benefits.

if. any=personal property. is so provided, this assurance shall obligate the Applicant for the
period.during which it retains ownership of possession of the property. In all other cases, this -

assurance shall oblig: are the Applicaat for the period during which the: Federal. financial assist- S

ance is extended to-it by the Dcpanment.

THIS ASSURANCE is given in consideration of and for the purpose of obtaining any and all

Federat grants, loans, contracts, property, discounts or other Federal financial assistance ~~.
extended alter-the date hercof-to the Applicint by “the Departmeat, including installment pay- -- 3 --

ments after such dare an account of applications for Federal financial assistance which were. -

ar proved before such date. The Applicant recognizes and agrees that such Federal financial’.

assistance will. be extended in reliance on the representations and agreements. made in this

—-assutance, and that.the United Stites shall have the right to seck judicial caforeement of this |...
assurance. This. assurance is-binding on the Applicant, its successors, cransferees, and assign-
“ees, and the person or persons "whose signatufve appear helow are ‘authorized to sign: this assute* ---

ance on behalf of the Applicant.

 

 

 

 

f Angeles
Dated February 2, 1981 County of Los Angete
- (Apple ant)
" _ : By:.___Bonnie Norman
~ (Presitea, Chairman of Moard,. or ‘comparable
ee oo - . avthorized official) © _
County of Los Angeles Hospital Administrator
Board of Supervisors . 441 Bauchet Street —.
oa f Su f 1
$00 West Temple Street . Los Angeles, Cali ornla 90012
... (Appl li de . -
Po ange es. ta Ttornta” 90012 eo ae ~ a
Mew. 44s ATTACH UST OUSICSR 1} (cert)

C12-G4}

 

 
 
 

2". DEEPA
SOCIAL

po HOS

SECURITY ADMINISTRA’
PITAL REQUEST TO EST
“INSURANCE FOR THE |,

  
 

 
  

 

ileuicien TY IN THE HEALTH
D AND DISABLED PROGRAM

    

  

 

  

PROVIDER IDENTIFICAT
NUMBER Be

   
      

 

ton

 

 

 

 

 

 

 

 

 

eS Licensed or Approved as a Hospit
vy.) Aoeal Government Agency =.

   
 

   

al bya State or

 

1) Name of Licensing Agency. (Specify) ..

   

 

   

[2 [No License or Approval Required en

 

 

 

 

ap ML

Utilizetion =} --
Review: Plan’: 13.
(Check one}(M11}} ~
- 2 lV.
Typeof 8 Pe x, -
Hospital ~~ | 2° (J General-Long Term
[Check one oS
3]. that most

oceurately -- : Di
describes) 3] eee

  
  
 
 
 

[7] Combination Medical

 

Society/

Foundation and Hospital Staff
{1 ()General-Short Term

3 oO Tuberculosis and other

4 wo Psychiatric

5 (C) Chronic Disease

6 (_) Specialty—
Short Term

2 LJ Medical Society/Foundation.

4 CRPSRO Monitoring”

5 Co] Other tSpecify)___.
2 CSpecialty—Long Term

~ 5g (Christian Science =~
” Sanitorium:

9 (7) Other (Specify) -

 
 

 

 

 

“oa 2s

 
 
  

oy, fa 2) Charen
Type-of Te .
Contrel “|e. Other (Spectiy)

+: Voluntary Not For Profit -

 

 

Ja COState 6 ()Chy

Government (Non—Federal) cy
8 (Hospital
City = Distuet.-
County BEL tess DEQ EE .
a Authority

     

 

 

 

‘(Check one) P=

Is oO Proprietary
(413)

 

 

9 (2) Government (Federa}) (Specify)

 

 

 

 

 

 

 

 

 

 

“Total Adult “Pediatric 1¢u/CCU Nursery
Bed a
“= Copecity 98°. 28. on. fo
a (ana) (413)- (16) | (ANT) 2 ed TBD. Liaw.
- “ os _  PEacteds shiz tora! frox 8

 

‘Hospitals accredited by

 

met. A hospital that establishes

the JCAH or AOA may establish their eligid
under the progran-by submitting to the designated State agency information
to meet the requirements of the law (unless a PSRO is performing
which provides for an annua! operating budget and a capital expen
this request will initiate the process of obtaining a de

reviews),
diture. plan. For other hospitals, the filing of
cision as to whether the conditions of part'cipation are
its eligiblity may later enter into an agrecment to become a participating hospits

iVity to provide services for reimbursement:

on this form, a UR plan which is founc -
and preparing an Overall budget plana

 

ron SSA~E51 4 tt2-75) PAGE t

ATTACH ENT :UnSER 11 teont)

 
 
  

 

é ‘engemen

ia the.

Vil. 02 [J Clnical Laboratory.”
r Services 03 03 2) Pathology Laboratory.
\..-provided by 04 (1) Electrocardiograph
aL Steff, EE Electroencephalogra
place a Ein Or ee

cepiopriate

‘ploce a:

 

 

- (22). (M23) (M24)
Courtesy. _ Intern | Resident ~
> Staff by B. Specialties (Check all cpplicable) (426) —
=~ Specialty and Soe Te
-. Type of “ o1 oO Surgery | Oo 06 [T] CB-GYN 11 {) Onhopaedics _.
“/S > Appointment _ 02 FJ Internal Medicine. 07 [[]} Urology 12 (} Psychiatry
03 (2 Pathology 08 (j Pediatrics 13 [_] EENT
04: (7) General Practice 09 ((] Gastro—Ent 14 [J Anesthesiology
“6 TE) Radiology 10 [} Newology — 15 (_) Oral Surgery” ©
A. ‘Nursing Staff B. Others oo
ne RN - OOD__= RRA tat) 7 Social Worker
“ay. ~~ (M34 1 RT (Ma) Occuparional
Number of (1) Nursing Subspectalties M391 Medical Technician Therapist.
Employees _ (429) "= Nurse (CRNA) (434) Lab Technologist (M43) Speech Therapist
(Full Time (M30). Nurse (Psych.) (437) Lab Technician (444)__>_ Physical Therapy
Equivotents). | O!L_t___ Nurse Practitioner™ ean Dictitian (445) > PT Aides =
(07}_=__Midwives (M39) Nutritionist (46) ___—_._.. Nurse" 3 Aides oo
(Totals should be Included © 49__3___ Pharmacist (M47), Orderlies 9
- in- tA), above) (maa) Physician
(428) LPN Assistant
- | A. Affiliated with a Medical -~B, Intern Program Approved C. Number of Resident Programs
"School (a9) (450) Approved by: (aMSt}*

x. 1 Major 1C)aMA 3 CAOA 1__AMA 3 AOA
Physician| 2 (Oj Limited ce
Troining : 9 [7] Graduate 2 CIADA 4 {No 2_W.ADA  s- 4 EX No
Programs 4 OU No Affiliation Program ‘Progra

SIGNATURE OF AUTHORIZED OFFICIAL (M52) FISCAL YEAR ENDING DATE:

01 [=] Blood Bank ©

    

   
  
 

  

 

 

 

 
 
   
    

  
  

 

  

52.2. pies Tee (S 0 ~~. 13 of 79 Pag He OB SF a

17 {7} Nuclear Medicine
18 (Z] Cobalt &. Radiation
Therapy ©

Extended Care ‘Unit

  
  
 

16 (1) X-Ray, Diagnostte

19 (1) Psych. Inpatient Care
eo (J Rehabilitation Unit.

    
  
  

26 (C)OB-GYN Departement. * ”

BT (Fl) Pediatrie Department 2

- 28-7} Speech Therapy Department __
29 EPulmonary Function Service’.

 

   

$0 (7) Organ Bank |

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

ee entre tame tnee cern ns  gecee cas

 

 

 

 

 

-

ht

 fonm $SA-151dti2-73) PAGE 2

tee

 

TITLE

OaTE

 

Hospital Administiaten Feb. 2. 1981

ATTACH: ‘ELT SUSTE

IR TL (cont)

  

 

    
  
  

 

 

 
ociigggnit 252-2 “Filed 11/22/10 Page 14 0f

 

 

12/09/80

 

ATTACH E:T NUNSER 11 (eont) -

 
    
  
 
 
  
  
 
   
 
   
  
   
 
 
   
  
 
  
  

ATE PF CALTON ATnen:

 

 

~ STATS DEPT. OF BEALTS SERVICES —
Licensing & Certification Diy,

- <8 Civic Center. Pleza, Re.: a80:

. Tanta Ane, CA 9270. :

 

 
  
  
  
 
  

 

 

 

 

 

 

 

 

wt. C. NONPROFIT CORPORATION 9.
¥, OTHER PUBLIC AsENcY

Los ANGELES

 

 

 

 

 

 

  

re : FOR | WOHEN HOSPITAL

Facite Lota rion city

‘A500 EAST CIT “DRIVE - LOS ANGELES
WACHEITY MOHLING ADDRESS Hr Durreaunty Eee TD

sare emia - . — Tht ~BTRECTOR, MEDICAL SERVICES spent we
“BONNIE C. NORMAN ne msl . BUREAU : Be ME ZB

 

  
 

 

 

 

 

 

 

 

 

 

 

  

 

© TYPE OF APPLICATION; "2S {J 0, cuamce oF seavices = {)«. OTHER Caner, ‘sPECIrY

A, Mt APPLICATION De. cuance oF racuuity tee.
B. CHANGE OF CAPACITY F, CKANGE GF OWNERSHIP

C. ‘CHANGE OF LOCATION wee o 6. CHANGE OF GEO CLASSIFICATION

 

 

TYPE OF FaciLiTy (Om Teenev 1G, AMOUNT OF FER CHCLOSER

ACUTE PSYCHIATRIC HOSPITAL - ‘FEE EXEMPT

 

 

 

 

 

a REQUESTED CAPACITY | ® Ee moe PAR AGE RANGE OF Cantets oof Va Tie OF GtRATION
“28° PATIENT BEDS ee [SIXTEEN (16). YEARS AN ABOVE 2 24-ROUR
a WAS FACILITY PREVIOUSLY LICENSED? ‘LJves Kno on
Coot WE YES, FAGILITY muaeen + - LICKMSE AGEBCT
- Sts Mason CONSTRUCTION REQUIRED? DATE CONSTRUCTION TC BGI : - V6, PROPLAT T Owateaew
: DATE-TO BE COMPLETED “ i ows . Doser = ategn

 

 

 

7. OTHER Cane FaciuiTigs <igeusen ay ca OANED BY APPLICANT: :
= ALL LOS ANGELES COUNTY DEPARTMENT OF HEALTH SERVICES FACILIT 1ES

- €.. r.
AREA HEALTH PLAMMENG APPROVAL t1F ACQUIRED) PENDING ter.
“ORTE OF APPLICATION: na a.

 

 

 

 

 

DATL OF APPROVAL s a -CamaciTe apenovts:

"| (we) ‘accept responsibility to. es oo
A. Comply with focal ordinances concerning ‘zoning, sanitation, “building and other appropriate ‘ordinances. '
‘8. Comply with the-Lador Code on employment practices concerning non-discrimination, liability insurance, wages, hours, end wort
conditions. - :
Cc. Comply with Health and Safety Code and regulations concerning licensing and lire satety.
t (we) declare under penalty of perjury that the statements on this application and on the accompanying altachments are correct to ary ce

 

    

 

 

 

 

 

 

‘know ledge.
. suit eee ¢. Drcermeed Titie DIRECTOR, MEDICAL SERVICES BUREAU pate_12/09/8E ..
“Signed SS ‘Title, a ss ne DOO
Signed : Title - Date.
_ Signed Title. Date —
“Je, Do you wish to apply for the Medicare program? CH ves Ono as
ot. Do you wish to apply-for. the Medi-Cal. program? | [ Yes ONo... . oo _

 

“RODITIONAL SPACE
ATTACHES T ULEISER 12 (cont)

  
  
   

 

Case 2:75

“Sev. 0417: Dra Fh eA PadeNMRRshd? PAO ECO

 

Type -or “print clearly: Prepare application in duplicate. Return original and maintain 2 copy for ; your records. Attach with we
~ the application a copy of forms and documents underlined below. oe

 
   

  

t. Aopticantts): Enter the legal’ ‘perionts) o or organization responsible for the faciity. Enter full names. . Indivicwals enter
“first, middie_and last name. ‘Husband and wife, if joint appticants, both: sign. Individuals,
“officers of. corporations must: ‘complete Applicant information

mplete, Administrative w Organization, { {bic 308).

    
   
  

   

 
 
 
 
 
   
   
  
  

 

‘pacity Loci = Enter. th =Physical location of the ‘facility, if ‘facility is difficult ¢ to locste, add. di irections for

lf reaching facility under Addi tional Space. If applicant has more than one facility, a Separate application must be
completed for each facility, Enter area code with  telephone.n number...

 

* Fact maifing address: Self-explanatory

     

 

erson in “charge. “of facitity: "Enter the name of person‘ who will directly supervise the facility. it not yet employed
enter “unknown”, . oe . ee 3 md = a

        

Type of soplicdtion: Sel-explanatory

‘Type of Facility: Enter the title used in Jaw and regulations. If unknows, enter the name commonly used to identif
oo such facilities. . _ _

ce 7 He ‘Amount of Fee enclosed: Eniert the amount of money enclosed with this application. Itino Fee is i esa bs.
wae / ~ 2 See “none” — :

AL Requested capacity: Enter the total number of persons fur whom care will be provided in any 24 hour period.

12, ‘Age Range: Enaer age range of ‘persons receiving care : -
: 13. . Time of operation: Enter hours. and days of Operation of facility
. 14, Was Facility previously canes? Self. ‘explanatory .

15, As Facility tobe constructed or r require major building change: Selt- sexplanatory

 

1& | Property Ownership: Appticant must show evidence of control of property. If property, is owned, ‘enclose copy of
” Deed, Bill of Sale. HW property is leased enctose copy of fase agreement,

 

17. Other facilities: Enter the name or number of any other care type facility owned or operated by applicant. Additional
space available on item 20. / "

~ 1& : Ares Health Planning Approval: Heath facilities are. required to compete and submit Area Health Pronning Appro a

bo 19. Statement of reaponsibiiies, signatures: Application must be signed by applicant or authorized personts).
20. For health facies that want to be certified for Medicare. Ail other applicants check NO.

. at. “ For health fagifties that: ‘want to be certified for Medi-Cal, Alt other applicants. check NOD 00 BOE

ATTACHMENT MUEIER LL (edse)

 

Bt

 
 

 

 

 

LS Intensive or Coranary care oe)
_ Hemodialysis ~ :

a Psychiatric

. Tuberculosi

 

 

TE _ General. Nursing: ‘(Long- Term}
~ Mental (Long-Term). --
“Mentally Retarded
intermediate Care
Other Specify: —

 

 

 

. i8— General Nursing (Long-Term

Medical-Surgicat -

; ____ Intensive oF Coronary'¢ Care
_ Hemodiatysis ‘
Tis _l2 | Psychiatric .
Tuberculosis. _
Alcoholism”...
Rehabilitation... aoe

 

  

Mental (Long-Term)
Mentally Retarded.
————, Inermediate Care...
Other Specify:

 

 

 

 

lo © _2f APPROVED CAPACITY .

 

 

_28 CAPACITY REQUESTED

 

 

 

 

 

   

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

/ 74a)

 

’ "Please check services = . So,
Anesthesia , ee Anesthesia :
* ‘Surgical’ - > ~Z Surgical ~~

Medical _. Medical

ee Pathological. .- ~ pero OE Sas Pathological x

a Radiological Radiological _ : ~ ~

- —_—Kinw Pharmaceutical — = Pharmaceutical : , o

—x_.. Dentat —t__.. Dental te

heen Digtary i. Dietary

. x Emergency . . Emergency : oe -
Physical Therapy Physical Therapy... oe:
Nuclear. Medicine... we Nuctear Medicine RS
Occupational Thétepy Cg Occupational Therapy CC ous
Outpatient Rehabilitation = ao oe Outpatient Rehabititation os

_. Renal Distysis Canter. : _ Renal Diatysis Center: ae :
Community Hemodialysis Unit Community Hemodialysis Unit
Renal Homotrangplantation Center Renal Homotransplantation Center: -
inpatient Rehabititation ‘Inpatient Aehabitiiation :
Other Specity: ae Other Specify: : ,
x , OUTPATIENT: “cutie SERVICES ~ x QUTPATIENT CLINIC. SERVICES
- ATTACH DIT "LECATR LE (cont)

a7
 

 

 

 

and any amendments
ting of this appticetion, ~~

 

 

 

 

  
  
   
  
   
  
   

fa foreign corporation to do business In California,

 

va nen nt

 

‘applicant has ever owned of operated # facility, p
«Ad the dates and duration of ownership of operation

lease attach a list of the name of each faciify, the address, size, type at care provide

overning Bozrd of Directors: a ” ~
-4. Size of Board

22. Term of Ottice

3. Frequency of Weetings .

 

 

".* Office cL Name Home Address & Clty & ZIp Code

 

 

-sident

 

 

~-*President

 

 

. ATTACH VET tren vy {cose}
“ery

 

 

 

 

 
    
 
 
 
 

e PUBLIC AGENCY

   

 

OD coon Deny oO: r, soeclt below

 
 

“ANGEL
WORE

   

 

 

 

 

 

 

 

 

itional Space

   

 

 

   
  
  
 

PARTNERSHIPS

 

  

[] Limites Home Address
po Genera) Nara.

Oo Limited © ‘Home Address a z a wie

 

iParner (1) Generat ~~ Name_____

 

[Limited Home Address
“1 Partner, E] General. Name

“Dp Limited Home Address = es =

For additional partners use space above of attach separate sheat

OTHER ASSOCIATIONS

ifsociations must afso provide @ Similar list of persons legally responsible for the organization, appropriate legal documents whiel
:! responsibility of the organization end accountability for operating the facitity.

 

—_— £ ATTACH GIT FTIR FY toons) CO
 

 

 

        

We have ‘beén advised that you are he-new owner(s) of the subject facility.

  

We wish to make certain that our records correctly show the effective'date of the ownership change.
This date should reflect the actual date on which you took charge of the financial management of the
facility rather then the date of sale ordate of State license change. : . *

 

 

 

Fo Would you please enter this effective date in the space provided at the bottom of this page. We also

‘request that you or your representative and if possible the previous owner sign this form ia mo
quadruplicate and return four copies along with any other material we have asked you to return.

 

  

N/A .

CFFCCTIVE DATE OF CHANGE OF OWNERSHIP

    

 

CWA ee WA

oo... SIGNATLAE (FOR NEW OWNERS we ME

 

BIGKATURE (FOR PaCrious OwwER}

County of Los Angeles --- - oe .
{Same Owner) W/A
WAME OF MEW OWNER, PARTNERSHIP, OF
CORPORATE ENTITY

 

MAME GF PREVIOUS OFNER, FARTHERSHOIP,
Om COAPORATE ENTITY

ATTACHMEDT MURZER 11 Ccont)

8)

ui larg To ns eine ae a

 
 

HEALTH magne Be BENEFITS AGREEMENT

 

1 oF to. make uch other disporition as may be specified in; nregulstions.

 
     

“This agreement, upon. ‘submission by ‘the provider of § Services of acceptable assur
ance of compliance with the requirements.of Title VI of the Civil Rights Act of 1964, and
upon acceptance for filing, by the Seerctary of Health, Education, and Welfare, shall be -
binding on such provider of services and the Secretary. The agrcement may be terminated
by either party in accordance with the provisions of section 1§66(bK1) and (2) of the Social
Security Act and regulations thereunder. In the event of such termination, the obligations
of the Secretary to make payment to the provider of services pursuant to this agreement —
shall be abrogated to the extent specified'in section 1566(b){3), (4) and (5) of such Act...
and regulations thereunder,

This agreement shall become effective when accepted for filing by the ® Secretary oF
his delegate.

 

 

: In the event of o. transfer of ownership. of the provider
“of services under conditions specified in cegulotions, THIS
AGREEMENT ‘SHALL NOT-REMAIN. EFFECTIVE cs between:

‘the Secretary ef Heolth, Education, and Welfore ond the
transferee.

 

 

 

 

Bg Be 7. Accepted for Secretary of -
For Provider of Services by: * = Health, Education, and Welfare by:

Bonnie Norman

Hospital Administrator -,
Tile Tide

 

 

February 2, 1981
Date Bate

 

romu SSA-156) 12-007 ATTACHUEDT CUSTER 11 (cont)
  
 
 

ID #3286"

  
  

252-2" Filed 11/22/40, ‘Pat 2 of 79." Page

 

- STATEMENT OF ‘pinanciat SOLVENCY

   

ee hat a court: st proseading to make : a: a judgment of bankruptcy :or- ansolvency with
" fespect to thi provider of services is not * pending i ina State o or t Federal court.

  

 

     

 

 

2 cca oo FOR PROVIDER OF SERVICES BY: "
Name "OF AUTHOMZEO OF GrricaL = (Please type), rte _ = tr

 

 

Bonnie Norman Hospital Administrator

 NONEZURE OF AUTHOMIEEM Or FICrAL ATTACH ©°T “UCTER 11 (eont) Oats
wee Werner’ 99 ebruary 2,

 

 

. Form HCOFA-2572 (9-72) (Formerly SSA-2572}

 
ASSURANCE OF COMPLIANCE MTHETRE DEPARTMENT OF ©
AALTH, Ent GAT ON. AND BELFARE REGELATION UNDER

 

 

uded: from part ipa
r be otherwise subjected ‘to diserimiaation. under any program ora
cant receives Federal financial assistance frém-the Deparment; -2
ASSURA cE THAT at will immediately fake: any measures ‘necessary eft tctuate this agree-

 

 

 

: ance cntended to: the Applicant ty the: Departmen this stsursnce. shalt bligate the
“Applicant, or in the case of any transfer ef such property, any trensferce, for the period during
“whichithe real property Or structyre is°used for a purpose for which the Federal finsacial ass
ance 3s estcaded or for anothcr purpose invelving the provision of similat services of bencfits.
Tf any. personal rroperty is so provided, this Assurance shall obligate the Applicant for the ©
ce “period: Auring which ieretains ownership of possession of the peoperty. In all other cases, this: ~
oe “assurance shal) obligate: the Applicant for the period during which the Federal financial assist- Be

: ance is extcaded to it by the Department. fo

  

 

 

wo neproved Uslore ‘such date. The aottene reeognizes and apices. thar. such. Federal. i financtal
irtance will be extended ia reliance on the representations and agtecmenis made in this.
“oassutaace,-and that the Cnited States shall have the sight to scek judicial. enforcement of. this. |
assurgace. This assurance is binding on the Agplicaat, its successors, trans{crees, and assiga>
ces, and the person or persons whose signarures appear below are authorized to siga this assure
ance on behalf of the Applicants ~

 

 

  

  

Dated = February 2, 1981 Q 2 _ County of Los Angeles
ne ” ° PARE aed) :

 

   

   

By__ Bonnie 1 orman
(President, Chairman af Board, ot coxparable
avthorized official) — - +

County of Los Angeles - . ' Hospital Administrator
Boars Gf Supervisors — a AAT Bauchet Street. ="
“S) 5OO-West Tempie Street = - tos Angeles, Cat lfornia “0012,
Caplicane ‘s mailing address) .

Los Angeles, (Si fornia 90012

mower ATTACHMENT MUSCER 11 (eont)
tr-0a7 .

 

 

 

   

 

 

 
 
    
  
   
 
   
  
  
  

  

 

 

 

 

 

 

 

 

 

  

 

 

 

 

 

 

 

 

 

 

 

 

 

 

   
  
 

 

 

   

       

 

 

 

  
  

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Hospitals aceredited by the JCAH or AOA, may establish their eligibi? ity lo provide services for reimbursement 5

| Mentifying
Informotion
i 1(a) Name of Licensing Agency (Specify)
ie: . pee we : :
Licensure.
- “andy
HE . 2 Chwcis Society Fondation
Utilization
‘Review Plan 4% PRO. Nonitoring
“| (Check-orre cnt) 3 7) Ocher (Specify)
ls We oT Shor . 4 [K) Psychiatric 7 ‘C1Spectatry~Long Term 2
ypeof 2 Pm oe
Hospitol, © ~ |2-(] General—Long Term . 5 [-] Chronic Disease 8 (christian Science. -
(Checkone Je oe ~+ - Sanitorium .
thet most. - | bte oe om Ns we
eccurctely 3--(] Tuberculosis and other: 6 ((} Specialty— 9 Cie Other (Specify)
‘describe s) respiratory f Diseases: Short Term - eo se
7 (M123 :
Os : : Voluntary Not For. Profit se Government on Feaerat
: Ye bene) Tees oo . 4 oO State 6. C) City =
“Tye fe / oe 8 (Hospi)
Control 2 ‘Bo Omner é Specify OE 5 1 Comty x Clete “Dt trict
: County ~~
(Check one) a Authority.
3 (() Proprietary 9 C-} Government (Federal) Specify) a
(MIS we nan a
ees . Total _ Adult __ Pediaine = ICU/CCU _Nursery
Bed Po 7
Copacity S276 276
OA14). (15) (AT) (M17) aie)
. ee, hn no _. VErctude this fsa ros

 

under the program by submitting to the designated State agency information on this form, a UR plan which is foun:
to meet the requirements of the law (unless a PSRO is perforining reviews), and preparing an overall budget plan
which provides for an annual operating budget and a capital expenditure plan. For other hospitals, the filing of
this request will initiate the process of obtaining a decision as to whether the conditions of part: cipation are
met. A hospital that establishes its eligiblity may later enter into an agreement to become a participating hospits

 

Form SSA-15194 112-751 PAGE}. -

ATTACH ELT .

UNTER lL €conte} >
 

   
   
     
 
  
 
 

: — “— 262-2: Filed 11/22/10 Pagg 25 of 79.

 

01. [2] Blood Bank.
02 [{) Clinical Labocatory.

+ Electioencephalograph

103 EE] Pathology Laboratory
se 0s (Ci) Electrocardicgraph “2

  
 
 

  

Page 1D #3588"

  

16 [7] X—Ray, Diagnostic
_ 17 (2) Nuclear Medicine
18. m Cobalt & Radiation
cy > Therapy >
Ag: m Psych. Inpatient care
20 [2] Rehabilitation Unit:
21 (7) Extended Care Unit
-22 (2) Renal Dialysis
“23.2 ] Open Heart Surgery
M @ Coronary Care Unit —

 
 
 
 
 
 
  
  
 
   
 
   
  

26. [-] OB-GYN Department

 

 

 

 

 

 

 

 

 

 

     
 
    
   

 

  

& wo Radiology _ ~

10 EC) Neurology

 

[13 “27-[] Pediatric Department
414 (2) Recovery Room "88 [2] Speech Therapy Department
{15 {=} Medical Social Service _ BY @ Pulmonary F Function Service
/Department ° : Po
(0420) gma eS (waza) 0123 coe fe
TL Consulting Courtesy go Resident “a
“PRS - * = oe - a
Medical > =
Staff by B: Specialties (Check all i epplicebte wey
‘Speciolty ond : : Ds BS 2 sep Che hn mos oR
Type of o1 [=] Surgery ~ “6 =) o8- GYN : 11 EF) Orthopaedics °° *
Appointment | 02 [Z)} Intemal Medicine 07 |) Urology 12 E) Psychiatry -
ie. = 03 (2) Pathology ~ : 03 [Ej Pediatrics. 13 EQEENT...
, OF [f) General Practice _ 09 [=] Gastro-~Ent a 14 E-] Anesthesiology

 

 

 

 

 

 

  

 

A. Nursing Staff _ B Others eG
oe - em . 0033)_ RRA (M41)_____ Social Worker
a — OQ aRT OO (42). Occupations
Number of __(1) Nursing Subspecialties ~~ ~ 35)_T}__ Medical Technician .. Therapist |
“Employees Man Nurse (CRNA) ce 088) Lab Technologist (mad) Speech Therapés
(Poll Time 1 | Neves Preceine _ oan. Lab Techijician ~ (uaa) _. Physical Theray
Equivalents) | 0? Nurse Practitioner 438) aI Dietitian. (sas) _PT Aides -
eo Lf#92)_ Midwives | O09) Nutritionist - . use) EE Nurse's Aides:
Crotals should be included way Pharmacist ou47)_—_ Ordetlies “°° = ":-
- in (A), above) = - (mea) Physician
| qazey_21__ LPN Assistant

 

 

 

 

School (49)

od [Major .
: 2 ( Eimitea
{- 3 (Graduate |

: La. -Affitiated with a ‘Medical :

4 (No Affiliation

 

B. Intera Program Anfroved._ . . 3 les
(450) Approved ty: as “S
1 CAMA 2 Aon 1___ AMA 8 —AO8
2 [JADA « J No- 2__ ADA ~

“Program .

 

 

 

 

| FenaT 3

TRIAL

E OF AUTHCAIZED OF FICIAL

*D Diag

(M52) FISCAL YEAR ENOING DATE:

TITLE OaTE foe
Hospital Administratay, Feb. 2,

 

 

 

 

ronw SSA-1514 2—75) PAGE 2

ATTACH EOF Ty

esis LL feanty

 

 
     

 

"LOS ANGELES COUNTY:

 

 

  
 

SHERIFF'S DEPARTHENT JAIL HOSPITAL

 

  

 

 

 

 
 

 

 

 

 

  

: 2 13--[5) Operating F Room -

 

 

 

 

 

 

   

 

“$6 (1) X-Ray, Diagnostic
M7: LZ} Nuclear: Medicine

    

fa pedisate Department -

 

    
   
 

 

 

 

 

 

 

 

 

 

 

 

“97.
appropriate 14 [)} Recovery Room .  ~ << ss 28 [} Speech Therapy Department
‘block(s) 15: [=] Medical Social Service 29 & Pulmonary Function Service
Pook. Ss Pel Pepartment :

wt (Mis) : Se TE
M20 oy M21y°~- a iMaap oP UNS)

abs vill. AL x ae . Consulting ht Resident aif. , Peabo ©
“8: Number of Al =. - Lop ee Sore pe
“Medical: ee /

“Staff by 'B: Specialties (Check all applicable) “jia2e) o He
tcl: Speciolty and : -, so

i Type of Ql =) Surgery- . 06 EF) OB- YN 2 ii E] Orthopaedics:

Appointment we (2) Interna! Medicine . ‘07 Ej Urology = -* 12 E_) Psychiatry -

 

 

 

      

 

 

 

 

 

 

 

 

 

03 [=} Pathology 0S [=] Pediatrics i3 EJ EENT ~ ~
- -O4 [R) General Practice -. 09 fE) Gastro=Ent * 14 E] Anesthesiology
- 06 [Lj Radiology “10 E_] Neurology 15. Era) Surgery ee
AS Nursing Staff B. Others = —.
- 4M27) 84 RN (M33)__ RRA (mat) Social Worker |
iX Oo oe see {M34} AR’ - 482)
|-Nomberot 44) Nursing Subspecialties —--(#35)_}}_ i edical Te oe

Employess (M29) Nurse (CRNA) —-(438)_____Lab Techrologist ~—-” (43) _-Speec Therap:
(Full Tine. | C0 Nurse (Psyoh,).» (¥37)_—_Lab Technician. = 44a) Physical Ther _

Eavivelents} a3) Nurse Practitioner (M38)___|_- Dietitian - » (45) PT Aides ..
w (#32) Midwives - (439) Nutritionist (44s)__12. Nurse's Aides

(Totals should be included (440)___3_ Pharmacist - GAR eee Order lies

in (A), above) (M48) Physician

uzs)_21 LPN . _ Assistant
A. Amiuatea with a Medical -B. Intern Program Approved ©. Number of Resident Progra
" Schiool (M49) ° (M50) © Approved by: (MSI).
ke ~~ 2 EL} Major iQMamMa- .3(()A0A 1 AMA. -3__AC
Physicion. 2 (0) Limited oe uk t ce
Teoining 3 (Graduate 2 (() ADA “4 KNo “2@_ ADA a CX) Ne
Programs 4 (No Affiliation Program oS Progra

\

 

 

7

| fonm SSA-1514 112-755 PAGE 2

SIGNATDEE OF AUTHORIZED OF FICIAL

ITA

(M52) FISCAL YEAR EXOING OATE:
TITLE

DATE
Hospital Admini strata, Feb. 2
ccis de Acons}. oe -

 

as

 

   

 
     
   

    

  
 

 
 
  
   
  

Ne

 

 

   

  

416 ; (TDX-Ray, Diagnose
. Y {2} Nuclear Medi ine.

   

25 (2) Gal Surgery Department =
"26 (2) OB--GYN Department. .

“. 27 GE) Pediatric Department
. 28 [Speech Therapy Department -

 

 
 
   
 

- 29 G Pulmonary Function Service oe es

 
  

 

 

- Medical
‘Staff by

  
 

AM22).

 

 

_ Consulting

(422) ..
Courtesy.

 

 

 

 
   
   

 

 

. Specialty and. fe

 
   

B.. Speciaties (Check aut | applicable) (26)

     
    

 

 

 

 

 

 

 
    

 

 

 

  

 

 

 

 

 

 

 

 

 

 
   
 

LA Type of =O [=] Surgery” rN 06 5 OB-GyN _ 11. |) Othopaedics
to Appointment “02 {3%} intemal Medicing “07 [=] Urology 12 FE] Psychiatry ..
083 [2] Pathology. 08 Ej Pediatrics . RB EJEENT
“OF (Bj General Practice 09 (7) Gastro—Ent 4 EJ Anesthesiology
7 05- [J] Radiology “10 E) Neurology 15 E} Gral Surgery
Be Others 7
a M27 ~ (433) (M41) ~ soeta) Worker
gy pe cen (ME | mo Oe (waz) Oveupenl
Numberof “a Nursing Subspecialties: 435) 11“Bedical Technician _ Therapist -
Employees - AM Nurse (CRNA) = (438)___ era Technologist: ~ oad) Speech Therapist os
1 (butt Tine (30) Nurse (Psych.) (M371 _Ta Technician (44) Phyatcal Therapy.
Equivalents) “ON Nurse Practitioner 438) Dietitian (M45) PT Aides
Suivatents (832) Midwives (39) Nutritionist (m4s)__12__ Nurse's Aides”
* (Totals should be included mao) Pharmacist (MAT) Ocderlies
. in (A). above) (48) Physician .
M20) 21 LPN > oo . Assistant
A. Affiliated with a Medical ‘B. Intem Progtam Approved C. Number of Resident Programs.
~ ‘School (mag) . _ (M50) Approved by: (MSI)
x. q OOMaja - oe 1 (AMA 3 [7] AOA. 1__ AMA ‘3___-AOA
: Physicion =~ ‘2 (CO umitet = oT. tT ce 2 e
Treining 3° (C] Graduate 2 (JADA 4 KINo 2 ADA 4 CX}No |
Programs 4 KJ No Affiliation Program Program
‘

 

SIGHATUEE OF AUTHORIZED OFFICIAL
Ot

TITLE

 

(M§2) FISCAL YEAR ENDING DATE:

Oate |=

 

 

 

~_ [FORM SSA-T51 4112295) PAGE 2. -

ATTACH. @ Pap

mn bd Teens)

Hospital Adm intstratas,

Feb. 2, 19
 

ATTACHIENT (ARIDER 11 (cont)

ar

   
      

 

   

  

   

it 252: 2°“Filéd: 11/22/10 Page, 31 of 79. ‘Paoetey .

Paply tos" poe ES Syne

  
    

‘Stats DEPT. OF. RELLTE : Seavices ~
Licensing: & Certification Bir.

 

   

 

 

 

 

 

 

Oe. WOMPROFIT CORPORATION
Clr. otare puscre actncy:

     

 

 

 

 

 

“Los ANGELES |

city

 

 
  

 

    

 

 

 

“meme OLRECTOR
BOR a ee '. BUREAU -
” o D. CHANEL OF StAviCES oe. . E) & owen ceance, spaciry -
“ANGE OF FACILITY TyPE Tee SR at OPE
MGC OF QWNERSMIP :
ANGE OF BCO.CEASSIFICATION © >

 
  
  
 
 
    
 
  
 

 
  
  
 
 
 

 
 
 
 

 

PEASCK 1m CHAREE OF Faciiaty

BONNIE C. NO

TYPE oF APPLICATION:

a. ww APPLICATION: =
B. CHANGE CF CAPACITY |

€. CRANGE oe OcATION*

     

 

  
  
  

 

 

Tire OF FACILITY: ion AGUNCTE.

= * - [1 3 aauat oF FEE betas
cure PSYCHIATRIC: a3 _SFEE, EXEMPT © :

= REQUESTED CAPACITY © 12. AGE RANGE OF CLIENTS - PBL Fig OF OPERATION |.

} 396 PATIENT: BEDS SIXTEEN, (16) 5 YEARS AND ABOVE = 24-HOUR

"EWAS PACITY PREVIOUSLT-LICENSEOT “Che ‘” =
F VES, FACILITY MUMAEA. ‘ LICENSE AGENCY |

 
   

   
  
 
 
 
  

  

 

 

 

 

 

 

 

ew. “PaGrCATY “ararengny

 

 

 

 

 

B18 mason consTAaVeTiOn ata ce, DATE CosTAUCTION TO aCEiN: *
os EST OSSES: pate Tee Combceten: ° Cts
epaRtig OF HEALTH SERVICES FACILITIES

 

Pa : eee fe
-®. AREA HEALTH PLAKMING APPROVAL (HF REQUIRED © ‘PENDING
‘.. BATE OF APPLICATION: ee ,

 

 

 

  

oat OF APPROVAL:

   

* a Ewe) accept’ Tesponsibitity too wu
A. Comply’ ‘With tocal obdinances-concering : zoning. Sanitation, buitding and other appropriate ordinances. “e .
B. Comply with the Lavor Code on employment practices concerning fnon-discrimination, liability ingurance, wages, hours, raed wo
conditions. ’

Cc. Comply, with Health, and Safety Code and Tegulations concerning licensing and tire safety, 5
the sccompanying attachments are correct te ™ Lue

  
  

 

 
 
 

 

 

 

 

 

 

 

   

 

 

“Fite
Title, -
Signed ane Title, ___
~ 2 De you wish to apply for the Medicare program? ~~ = ves © CI'No
"4, Do you wish fo appty for ihe Medi-Cal program? EX) Yes [so = .

 

ACOITIONAL SPACE
ATTACHUEDT (METER 11 (cort)

 
 

"Page 32 OF 79 Page ID #02

TIONS FOR APPLICATION Fe FOR reuoces

~ Type or print clearly. Prepare: d
the application a copy of forms and documents underlined below.

“enter “unknown” tL

 

Type of application: Sellexplanatory

   
 
 
   

 

2 “Type « of Facility: Enter the: title used ‘in tw and regulations. ar unkno vn, enter the name commonly used. to iden tify

such facilities.

 

0. Amount of Fee enclosed: ° Enter the amount ot money enclosed with t

-application. If. no Fee is now involved enter :
“*rione™. , SO

" Requested capacity: Enter the toral number of persons for whom care vill be provided in any 24 hour period.

Age Range: Enter. age range ot persons receiving care

  

‘hours and ays: of operation of Aacitity |

 

_ Time. of operation: Ent

 
 

Was Facility previousty Hicensea?: Saltaxplanatory =~

 

Is Facility to be constructed or sequire major building change: Seif- ‘explanatory

Property Ovmership: Applicant must show evidence of control of property. tf property is owned, enciowe copy of |
Deed. Bill of Sale. \t Property is leased enclose copy, of lease sgreement Ss

ST

. Other facilities: Enter: then name. ‘or F number of any ¢ other: eae y type facil y y owned or Operated by took,

° space available on item 20...

  

   

Ares Heatth Panning Approval: | Health facies» are s required t to © comple ona submit Area Health Pong Appr
(LIC 108). oom : oe

     

49, . Statement of responsibilities, signaturen: Application must be signed by. splicant’ or authorized personts},
20. For health facilities thar want to be certified for Medicare. All other applicants check.NO. - . toot, =
21. For heatth facilities that want to be certified for Medi-Cal. All other applicants check NO. :

‘wd ATTACH IED T rUtwER 12 (cont)

 
 

 

 

 

———— Medicat-Surgical
Maternity ~~
Pediatrics.
Intensive or Coronary Care

: - Hemodiaiysis

oe Paychiatric

Tuberculosis

Alcoholism

Rehabilitation

bo 156 - General Nursing (Long-Term)

: Mental (Long-Term)

Mentally Retarded

Be os intermediate.Care

“.-.. Other Specify:

   
 

  
   
  
 

 

 
  

 

Anesthesia

“Surgical

Medical

i. Pathological

ye Radiological

—_t.. Pharmaceutical

—-x.. Dental

ee, Dietary Le
X_— Emergency
X_. Physicat Therapy

 

 

 

 

 

Oecupational Therapy
eceecneen Outpation? Rehabilitation
Renal Oislysis Center

 

Inpetient Rebabititation

 

 

2. Nuclear Medicine”... cone

Community Hemodialysis Ynit .-=-.
~ Renal Homotransplantation Center:

—— Medica!-Surgicat

. Maternity

Pediavics *

intensive oe Coronary Care ye.

Hemodiatysis hore
“8G 20 Psychiatric ©

Tuberculosis

‘Alcoholism

Rehabilitation .

196 -Generel Nursing (Long-Term

Mental (Long-Term)

Mentality Retarded

nee _ {intermediate Care sor

- Other Specity: a

 

 

 

276 capacity REQUESTED

AVIGES een ee

 

 

 

FOUEST
ot = -Anasihesia
Surgical
_ oe __X%.__ Meditat”
Pathological
AX Radislogicat
— Pharmaceutical .
i... Dental
ee X_ dietary sit _
eet Emergency

 

2 —*___ Physical Therapy 2s
= > Nuclear Medicine - meee ee
Occupational Therapy
Outpationt Rehabilitation _.

 

 

 

 

a -~ Renal Dialysis Center =

; Community Hemodialysis Unit .
Renat Homotrang plantation Center
inpatient Rehablitation -

 

 

 

 

Othar Specify: Other Specify:
x OUTPATIENT CLINIC SERVICES x OUTPATIENT CLINIC SERVICES
‘ x _CEINICAL LABORATORY _ x CLINICAL LABORATORY

 

 

 

oP Ae fas Bab

ATTACH TT CUNRER 12 (cont)

“ty

 

 
 

   
    
    
 
 

a CORPORA TION ee

 

 

 

 

 

 

 

 

   

1 applicant Te owned of operated. ‘a teciiity, please attach alist ol the name ol
‘nd the dates and duration of ownership | operation. .

  
 

 

 

 

 

 

 

 

 

f.- Size ot Board

 

z Term of Office

“Bs Frequency at iectings ge ome . a

 

.. Method of Selection -

 

 

 

| Board Olticers:

 

 

 

Oftice -- Jo - - Namen: os - Home Address & City & 2Ip Code 9 Phone'No. =f Tera E*
sident See — lowe : rene ,

 

..President

 

 

ATTACH GET PUSlER 21 (eo-+)
etary

 

 

TOO
isurer

 

 

 

 

 

 

309 (7/78) Se “* : . ” : =
x y as;

 

 
 

 

 

  
  
 

   

ns SL ==" PUBLIC AGENCY oe
. Be Check type 0 ‘public agency: Ch Fee n@ I o State Bl cowry Ceny o®@.. spacity betow

"isons providing services: .
loo. ROSEANGELES: OUNTY SHERIFFS: DEPARTHENT

IS PATAL , Adee

  
   
    
   

   

 

 

 

 

 

 

 

 

5 “nase Space x

 

       

 

 

 

a Lite, EPRE PARTNERSHIPS . wee pee ur et Maes gee
"eh a copy of parinership agreement He 2 BS C

 

   

 

 

 

 

 

   

 

 

 

 

A Partner o General _ Name x
“a Limited” Home Addiesy__ .
a Partner oO General = Name __
[] Limites Home Addresg___ ee :
4 Partner Elcenerat Name — — ~ :
[7 Limited © Home Addées4. =
By Partner. [Genera Name 2 = B: — _ Zs
a Limited Home Address Se _. ~_ Ee - : . wee
For edditionat partners use space ebore c or aitech separate sheet oe

 

OTHER ASSOCIATIONS

 

"her associations must also provide # similar ilst of persons legally responsibte for the organization, appropriate tega! documents whk
"th lesal sesponsibility of the organization and eccountability for operating the facitity.

€ “ETtacr. . Tas a ees) C

Se,

 
 

 

 
 

 

 

 

© SUBJECT: 10S ANGELES COUNTY JAILS
"8" "PROPOSED LICENSING OF”

 

 

--As-you are aware, at Our October 27, 1980 meeting attended by yourself
- and Mr. Bill Kern as well as Mr. Leon Stein of the Office of the State
Architect, Los Angeles, Mr. Pani Botica,.Associate Architect, you were
advised that the buildings do not meet present seismic structural re-_

quirements and that the. Code requires that they be structurally rein-
forced prior to licensing the existing medical facilities. L

Since that time, our office has sought legal confirmation of our advice. ._ as
Our legal department has just forwarded a request to the Attorney General.

for an opinion, and you will be advised as soon’as an answer is received. —

_ We would suggest awaiting that opinion before determining how to proceed.

Sincerely,

 

Victor M. Moran .
Supervising Architect
_Division of Facilities Development

   

ees Larry G. Meeks/Chief/DFD. secs | a el
se Doni Jepheott/OSA/SACTO.. 2 2. me
_ Leon Stein/OSA/LA - -. Ct =
on Paul Botica/DFD/LA ee iE wv Coe tas
Joe Synkowick/LEGAL/SACTO. . .. Be

RECEIVED
ATTACHEDT MUCEER 12 FEB 1 3 1981
BONNIE NORMAN

  
 

 

  

162

-—
 

 

 

 

 

 

 

 

 

 

Facility License Category ( (check one e box): . . oO General A Acute Care Hospital

 

0 Intermediate ne Cate Facility ~ u Acute Psychiatric Hospital S m

   

 

oe ‘Surgical - oF a .
/ DB Clinic - Chronic Dialysis Clinic Oo Skilied. Nursing Facility
. Number of Licensed Beds 2S Number of spproved Chronic Dialysis Stations NA A

  
     
  

 

Name

 

 

° Person Authorized to “Act: and Receive Service on Title a _
> Proceedings of the Application on Behalf of the oo oS So
Applicant tif di different from Administrator) - . Firm

 

 

Address

 

   

Phone

 

 

CE RTIFICATION BY. APPLICANT

 

op hereby’ submit and declare; under penalty of perjury, that. the: project’ described and each statement, amount an os
-- gupporting document Included is true end correct to the best, of my. knowledge and belief; and that the project dot
_ Aat involve any of the following: vs . . a

nay Increase in licensed bed capacity. ee
-: (2) Conversion of the facility from one licensed category to anothe;. pee
-- {3} Conversion of any of the facility's existing beds from one bed ¢lassitication to aniothet except 23 authorize
“= by Section 437.10 of the Health and Safety:Code-2= hee
~ (4) An expansion-or addition of diagnostic or therapeutic capability 0 or an expansion ¢ or ¢ addition ot servic -
other than to the extent expansion or addition is inherently required to meet State ¢ or federal laws «
regulations specifiéd in the official notice of noncompliance. ~~ Lieb
_ 8) Location ona site which j is not the same site or adjacent thereto.

~ Name —Ronnig Norman ~~ Title Hospitel Minin stray ital “Administrator Date February 22. 1!

     

 

    

Signature

 

ATTACHE T PUSSTR 13

IMP LG (7/77) 3103

 
  
   
  
 
  
   
   

 
  

 

 

“QUIPMENT IN EXCESS OF $150,000

_ & Diagnostic
[J Therapeutic —
O) Other —

 

 

(270) Dental Service ~
{21} & Emergency. Medical Standby
(22) & Intensive Gare
f(D Invermeciaté Care
~~ (24) (2 Nuclear Medicine
| {25) TG Occupational Therapy
(26) = Outpatient,
“ASQUIRED SERVICES
(36) (= Activity Prograrn
(37) © Dietetic | Loe
(38) O Pharmaceutical ons
(39) © Physician‘
{40) (oC Skilled Nursing (SNF?
(41) (1 Intermittent Nursing (ICF)

 

(28)
(29)
(30)
: (31
- -. .. 2

oe (33)
(34)
(35)

“OPTIONAL SERVICES

{42}
(433
(44)
{45)
(46)
(47)
{48)

eh

ALL FACILITIES

_ NON- BED, NON-SERVICE CAPITAL EXPENDITURES
EXCESS OF $156,000 -

r*

oaaEeeeee B

boeUOORO

Skit LED NURSING oR INTERMEDIATE CARE FACILITIES ONLY

OLE

J

aT

 
 

   

 

Reriaion Therapy
Renat Transplant -

    

Pechatric [
‘Perinatal
Physical Therapy want wh
Podiatric -
Rehabilitation Center ,

- Respiratory Care.

Skilled Nursing

Soviai Service:

Speech Pathology end/or Audiology

 

- Developmenially Disabled al
Mentally. Disordered...
Occupational. Therapy _

Physical Therapy

Rehabilitation |

Social Work

Speech Pathology and/or Audiology
Substance Abuse

Research Services =...
Education Services -
Genera! Services

Fiscal Services
Administrative Services
Other

ATTACHMENT tap T&R IF (co-t)
   

“Application 1.D.N

  

: pportant t y
inmates and. ‘does not admit members: of ithe general c onmunity.

   

  

 

COST: ESTIMATES FOR PROJECT
See item 8 B under General Information for inclusions.

   

F. “Value of leased facility ot

 

    

   
    

 

 

 

 

 

$.
Senne - {attach tease)
~ ee Ge Plans -- eS 3.
) Co ee H. Construction $
“Equipment $*. A Test © 3.
Aattach detailed list. + .
J. Total (items A-i) $ — a
K. Contingencies (2%, Item J) $
L. Total Cost (Items J & K) $
Please return 3 copies to: ATTACH EST 0apran 13)
Oepartment of Health
Office of Statewade Health Planning ron
sa ne, wd Development ew epee

 

   

-__ 37442 Street. Room 977. ee
OFFICE oF STATEWIDE HEALTH
NG: AND DEVELOPMENT .

 

 

 

 

 

 

  
   
   
   
      
   
     
    

 

“TD General Acute Care Hospital
a Acute Prychiatric Hospital ~
DD Skitted Nursing Fectiny

 

   

_Number of approved Chronic Dialysis Stations NA

 

“Name

 

  

 

 

Person . Authorized - to Act and: * Receive “Service on © Title

| Proceedings - of the “Application on Behalf. of the
‘Applicant {if different from Administrator) Firm

_ Address

 

  
   
 

 

 

 

© Phone... =

rE

_ CERTIFICATION BY APPLICANT _ - - ae .

"ih hereby submit and ‘declare, under penalty of perjury. that the project: ‘described and each statement, acnqunt an
_ Supporting: document included is true and correct to the best. of my knqwiedge an and belief and: that the project doe

Ly not involve any of the following:

 

 

(1) Increase in ‘licensed bed capacity.

__ (2) Conversion of the facility from one licensed category to another. ~
43) Conversion ‘of. any of the facility's existing beds from one bed {lassification to another except as
ou F by Section 437,10 of the Health and Safety Code.

J» (4) An expansion or or addition of diagnostic or therapeutic. capability’ or an “expansion. or 'addition’of setvicdt ~
-""” gthér-than-to, “the extent expansion-or addition is inherently: required to. meet ‘Sta or federat laa -
regulations specified i in the official notice of noncompliance. ~ eS a8

(5) ‘Location ona site which is not the same site or adjacent thereto.

Bonnie. Norman Moe Title Hospital? Administrator Date Fahmy 2219

authorize

  

 

 

 

_ Name

 

~~ Signature

 

TTACH SENT (AUER Lé

2Me 18 (7/77) 10°

 
    
  

IC SERVICES

  

mono

‘Rerliation Therapy
Renal Transplant.

   
 
 
   
 
  
  
 

Pediatric. Ce BL
Perinatal - ae
Physical: Therapy
Podiatric Beas
Rehabilitation Center.

    
 
 

| : a Medical, Standby
(22) 2 intensive Care’:

“voRTCOrOD

2a) 0 Imermediate Care ns - {32} Respiratory Care

(24) Ci Nuclear Medicine =. (33) Skilled Nursing

425) OG Occupational Therapy . . (34) Sovia! Service
(276) Outpatient * OL . (35) Speech Pathology and/or Aud ov :

"SKILLED NURSING OR INTERMEDIATE CARE FACILITIES ONLY
QUIRED SERVICES: eS * OPTIONAL SERVICES .

 

    

be iG Activity Program - “ (42) i Ouvelopmenially Disabled...
437) 0 Dietetic - {43;. Mentally Disordered = - |
G8) O Pharmaceutical oo 44) 0 Occupational Therapy...
(40) C Skitled Nursing SNF} (46) Gi Rehabilitation
(47 Eb Intermittent Nursing (1CF) (67) Social Work.
BO (42) _} Speech Pathology ‘and/or Audiology
oo . (49) = Substance Abuse
~ - ALL FACILITIES

    
 

EXCESS OF $156, 000.

 

UIPMENT IN EXCESS OF $150,000

(i Diagnostic — (C Research Services —_-
CO Therspeutic i) Education Services _
D Othe ~ CG General Services _.....
i ie 1) Fiscal Services
a c! Administrative Services
ATTACH NET UITR Lt (cont)

107
 

 

     
   

‘licensure for these medic beds.
asked. to > be licensed" ‘asa’ 28 bed acute psychi

poir
inmates and does not: admit members of the generat community.

 

   

 

 

 

A Planning | $
B. Administrative S-
C, Financing. | ‘S-
D. Site = _ -§
_ EY Equipment - $

COST ESTIMATES FOR PROJECT
See item 8 under General Information for inclusions.

(attach detailed hist. )

a oy Total (Items A-l)
“K. Contingencies (2%, Item J)
~L. Total Cost (Items J & K) —

Please return 3 copies 10:

Department of Health

Office of Statewide Heaith Planning
' and Development

714 P Street, Room 977
Sacramento, CA $5814 .

 

i

 

 

 

 

 

 

F. Value of teased facility
= (attach lease)

G; “Plans =

H. Construction

t. Test

 

 

 

 

 

 

aaa uw

 

  

 

 

 

ji

“ue

ATTACHIELIT WUGIR be (core)

10S
   
   
    
   
   

  

LO .Page 4001/9 -Pade-ll) #

Office of Stat le Health Planning and Developmer’

 

 

 

     
 

‘the CO euisten ‘appears to be ‘that "prison and gaia facilities. tk
all other. “£ ee ettiee: are. grandfathered as the Act was not. dntende

   

 

RECEIVED
_ SUNS 2.1981
BONNIE NORMAN.

 

 

 

i , ATTACH MET CUCDEn et -

109
 

a Case 2:75-cv-041; EPDPgpocument 252-2 Filed L1j22l1o @* 44 of ec (Page ae

  
    
 

NOTTS BE purtiste> nt Orriera, nepcers

. BUT TO CONSTITUTE A FUBLIC RECCR UNDER
THE CALIFORNIA PUBLIC RECORDS ACT

_ OFFICE OF THE ATTORNEY GENERAL -

| State of California

 
   
  
 
  

   

NO.” 1-222

   

 
   
  

 

DEUKS \ Be -MAY:5, 1981
ey General ce

 

___-_ THE HONORABLE RENRY W. ZARETSEY, DIRECTOR OF TEE ~
OFFICE OF STATEWIDE. HEALTH PLANNING AND DEVELOPMENT,

has requested an opinion on a question which we have re-
phrased -as follows: . =» :

-.. Must the medical facility of a prison or jail.
which was.in operation prior to the effective date of the =
Hospital Seismic Safety Act (lealth and Safety Code, section
15000 et 'seq.) comply with the Provisions of that'act as a.
condition.to obtaining a license as a health facility 00 0 7)
pursuant: to section 1250 et seq. of the Health and Safety = =:
Code? go eS gee

 

“se CQNCLUSTON

The medical. facility of a prison or jail need not,
as a condition to obtaining a license as a health facility
pursuant to section 1250 et sea. of the Health and Safety _
Code, comply with the provisions. of the Eospital Seismic ~~
Safety Act (Health and Safety. Code, section 15000 et seq.)

with. respect to the buildings and structures comprising such

facility on the effective date of the act. If, however,
further "construction:-or alterations” will be required to
qualify the medical facility for licensure, such “eenstruction
or alterations” will have to be in compliance with the act.

l.
ATTACH EDT THFIBER 15 (eort)

110

, ou . in . - .
Lg Be ee a a eee 2/10 mo 45 of’ age ID #:3309°° =":
‘+ ase 2:75-cW04111-DDP oun 252-4 Filed 11/22/10 eS 45 of 79 Pag i =

 

 
  
 
  
   
   
  

   
 
    
    
  
  

 
  

afety Act was
ective March :
the Health and’s te.
ct.was made applicable--(1) ¢

1973) _ tc

red to be ‘licensed p

uir
«(see now, ‘section 1250 -et. se
ent: Ospitals,' including ‘state hospitais,

2 have been ‘required to be licensed

    

 

 

specific exemptions then contained in the. law...
oo 4, as“added: by: Stats. °1972,- ch. 1130,°§ 3, pp. 2171-
2172.) ‘The thrust of the act:is to.add.to the law earthquake .
_ standards. for hospitals such as those which have been estab-  _.
the sector, Schools. pursuant .to the Field act... Accordingly,”
“the tégislative intent as stated :as follows: °° Bee

     

a . "Sé@eo:2.,. t is- the -intent Of. the .
. Legislature that.hospitals, which -house
- patients “having: less than the capacity of

- normally healthy persons to protect then-
ap: S@lves, -and which must be completely
Se = funetional to-perform all necessary ser-
_~ ““ wices to the-public after a Cisaster,

shall be designed and constructed to re-

~~ sist, insofar as practicable, the forces
=" generated by earthquakes, gravity, and

“winds, -“In--order -to accomplish this pur-
~- pose the Legislature intends to estab-

* lish proper. building standards for earth- eh,
“quake resistance based upon current know-~
2. ledge, and intends that procedures for ~
oo me ~. the. design: and. construction of hospitals
Co - -be subject. to:independént review. It is

further the intent of the Legislature
that Division 12.5 (commencing with
Section 15000) of the Health and Safety .
Code shall be administered by the State

~ <= Department of Héalth, which shall contract
. . for enforcement. of such provisions with- woe
ge the Department: of General Services which ~

_ now successfully enforces the provisions
of the ‘Field act.'". (Stats. 1972,. ch.
. .. 1130, § 2, p.. 2171,.as amended by Stats.
/ = 1973, chs 142, § 103.5, p. 434.)

     

 

 

 

1. All section teferences are to the Health and Safety
Code unless otherwise indicated.

2 ATTACHES T MrteCR IN (car+)

iil

 
   
  

vet Casé 2'75-cv-0411 8

aut

ZOE yeurneni 252:

    

* Filed 11/22/10" Rage 46 of 79 Page ID'RS3%

~..

    
  
   

   

transférrea to and is:

» Statewide Health Pla

 

    
   

 

 

 

   
 

ch Services licens

4250 et seq. , includin
jencies. (§ 1253)-Pri

 
 
 

    
      
   
    
    
   
   
    
  
   
  
 
 
  
 
  
  
 
 
  
 

ital conducted, maintained.”
ny sta e' department, Javthori
Eece oie for) ‘any hospital
wr sted, = ta /OF operated by the Regents of the.
Griversity of California.*: (see prior section 1312, sub-

“hen the licensing provisions -for -hospitals..

    
   
  
   
 

   
  
 
 

  
 

; Maintaine

  
  
   

 

    

 
  
  

  

~ . “health facilities" were reenacted in 1973 (Stats
1202): the foregoing exemption language was:deleted..
ee - the health fas our wneerstanding ‘that ‘the only state.
 “operated="health facilities" which did not apply. for-licen--..
. Sure after such time.were those operated by the Department... -
Gated sections and the Youth Authority. (See Memorandus :
~. dated Jan. 17; 1978 from the’ Department of Health to OSHPD.) . ©
= -s Also,-as part of.:the 1973 enactment. cited above,
the Legislature enacted section 1265.8 with respect to... 9. =
licensure’ of health facilities. It provides: apne
"In -addition to the requirements of
this chapter, any person, political sub-
division-of the state, or governmental
2 agency desiring a license for a health
*. facility shall file with the state depart-
=-ment -(of Health Services] a verified
* statement. that it-has complied with the
- oe " Fequirements of Chanter 1 (commencing » ae
ooo. 3 t Wwith Section 15000) of Division 12.5 [the
- “Hospital Seismic Safety Act), and it has
_ -Feceived approval pursuant to that chapter.
The state department [of Health Services]
shall rot. issue any license until such _
- = Yequirement: has been ret."
/ ‘This section was clearly intended-to:
_ Likewise, an examination of ‘the Hospi
demonstrates that its provisions: were
‘prospectively. (See ¢.g., §§-15001.5,

3.
ATTACHEDT MESER 15 (eo-+)

1? |

 
 

  
 
 
  
  

fe
y Act comply with the p;

ition to obtaining a license.

to section 1250 et seq.?

 
   
  
   

 
 
   

‘section 1265.8 would require’
on to the plain meaning rule
where a ‘literal construction

  

. Compliance. . However, an exce

of statutory. construction exis .

- Of-a statute would -be contrary to the manifest intention of _

the legislation as a whole. | (People v. Belleci (1979) 24..

~ Calv3d 879, 884.) Furthermore; as noted by the court in ~~
People v. Shirokow (1980) 26 Cal.3d 301, 306-307 —

Vw wns Bales In construing the meaning of  .
[statutory] .. « language, we are mindful
- that the goal of statutory construction is |
_ ascertainment of legislative intent so that
_ =~ the: purpose of the law may be effectuated,
x and that we should. construe a statute in.
the. context of the entire statutory scheme
. Of. which it is a part, in order to achieve
__harmony--among. the parts. .05-."%° 0000

  
          

“key the licensure of health facilities into the requirements” —
of the Hospital Seismic Safety Act to ensvre that newl oo
constructed health facilities would meet earthquake safety :

=-The manifest intention of section 1265.8 was to.

 

ek =For example, section 15006 provides: PS lap

 

 

   

=». “The. state. departmen + through its. -

contract with the Department of General
Services, shall observe.the construction
of, or addition to, any hospital building

woe or, if the work alters structural elements,

~ "the -reconstruction or alteration of any

hospital building, as it deems necessary
to comply with the provisions of this
chapter for the protection of life and
property."

 

ATTACHUEDT tintsern a: (co-t}
4.
113

 
ument 252-2 Filed Lileer

  
     
 

   

ed othery

 
 
 

afety Act

 
   

buildings and ‘structures as
at act, and to deny a simil 0 prison- ~
alth facilities which were not licensed 'b Cause. ~~

: time. To conclude other=

act pros; 2 f ) ively as to
1 . ite too

y. 7 is so is Particularly evident

from the fact that the Hospital Seismic Safety Act as ori- - _--

ginally ‘enacted in 1972, and-whose provisions were clearly ~
Prospective in nature, was made applicable not only to ~

. licensed hospitals, but also to those which were Sspecifi-.
cally exempted under. the law such as prison or jai} health Fe
facilities. accordingly, Prison or jail health facilities | oo
should not be treated more harshly under the Hospital Seismic ~
Safety, Act. than licensed health facilities when both were in
Operation on the effective date of the act. Consequertiy, cet
it is ‘our opinion that the act was not intended to apply to

    
 
 
 
 

 
   
   

 
 
 
 

 

   
    

 

wt te “effective date of the act.

5 «with licensing requirements, Hospitals which were licensed
-in 1972: must meet the requisite building Standards of the
Hospital Seismic Safety act with respect -to pew construction oe

5.
ATTACH LOT carrer as (cane)

ils
Case 275-c004 TTF DOP ‘@eiitient 22-2. File tr/z210 Se 49.679 Page ID#:3313:

     
  
  
 
 
  
     

*

exempted because of a change in the licensure requirements
. .2n.1974 and ‘a subsequent ‘delay in seeking licensure. The.
~ Hospital Seismic Safety Act, like the Field Act, . ‘be
“2 hn ee af a a8 ss ee athe te pot te

 

           
 

 
  
   

facilities for’new construction or covered |. -
meet ‘licensing requirements would be contrary
d.would not effectuate ‘the purposes of ‘the

 

lterations ©
0. such rule, and wot ot effectuate ‘the purpo:
ct, to protect hospital patients from the hazards of “== =

 

 

 

 
   

“earthquakes. oo mo es ae

J One further point must be discussed with respect =:
". 5 tovthe role of OSHPD. Regulations implementing the Hospital
_ .: Seismic Safety Act are contained in chapter 7 of title 22 eS
Of the California Administrative Code. These are enforced ~~:
_ by OSHPD,.:the requester herein. Section 94009, subdivision © -—

- {g) of these administrative regulations provides:

"(g) -Before any building not
previously: licensed under Section 1250
of the Health and Safety Code can be

~ licensed and used as a health facility,
the applicant shall provide assurance
‘from a structural engineer that the
-building is in full conformance with
-the requirements of these regulations
| for new buildings; if not, the building
* shall. be reconstructed to conform to _
_-the requirements of these regulations.*

The requester seer these regulations as possibly constituting =
“an impedime..it to the exemption of prison and jail ‘medical” ©-° ©
_ facilities which were in existence on the effective date of — ~ tate

the Hospital Seismic Safety Act from the requirements of bas Te

that act, and suggests that under an interpretation of ‘the

_law as discussed herein. that this regulation could be
-emended so as to spell out such an exemption.

 

. “In our opinion, such an amendment would be proper. = es
- However, aiternatively, we believe that such an amendment... -..-
» would not be reauired. - Just as we have interpreted section . .~:
- 1265.8 not to include prison and jail health facilities
> under appropriate circumstances, we believe the Office of .
_ Statewide Health Planning and Development could similarly

 

construe its own administrative regulation. The latter. . ov adnies
‘regulation is clearly an amplification of the former code Ds
section. . .

6.
ATTACHES T NUSISER 15 Ceont)
LE

 

          
  
   

g.of the act
cility for 1;
ae. MUSt be in complian

 

censure,
ce with

 
 

such "co
the act. 3/

 

   

 

Co , 3. .We do not disc
alterations*

date of the act must h
Such question Was not raised
Opinion herein,

, 7.
' : ATTACHUENT SUSeRp ar (cort}

yar
      
   

"County of Tos Angeles
; Off lite of the Sheriff

Mr. Robert. Mitchell
Stateo Jifoernia
Office of Statewide Health Planning»

and Development =.
714 P Street, Room 977 |.
Sacramento, California 95814

 
  
 

Dear Mr.- Mitchel}:
ae CERTIFICATE OF KEED

The dollar requirement for correction of facility defi-
-ciencies will be decreased significantly by our program
flexibility requests (see attached}. This will ‘bring

us well below the threshold amount. Program review
would therefore not be required.

We are hopeful that this clears the way for us to begin
working : with the. Jicensure people in Santa Ana.

“Sincerely,

PETER J. PITCHESS, SHERIFF

BONNIE NORMAN, DIRECTOR
MEDICAL SERVICES -

‘BN:ca
‘Attachment
cc: Pavle Botica
Mary Jane Moore
Dianna Estes
File ATTACHUENT (UNTER 15

117

 

aDOMESS Are COMMA aTLONS TO PETER 5 PIC MER BE MOE
  

 

 

 

Ms. -Mary Jane Moore, Supervisor

State of-California | So
Department of Health Services | -

Licensing and Certification Division

28. Civic. Center Plaza, Room 859

Santa Ana, California 92701

Dear Ms. Moore:

-_ REQUEST FOR PROGRAM FLEXIBILITY - LOS ANGELES
COUNTY SHERIFF'S DEPARTMENT JAIL FACILITIES

_ The Los-Angeles County Jail is a correctional facility which -
_has as its primary purpose. the housing of inmates. - During --
their incarceration, medical attention is received both at |
the jail-and at Los Angeles County-University of Southern: ~~ |
California Medical Center. Because the Los Angeles County ---
Jail System is so Jarge (10,000 inmates}, a significant = 2...
amount of ‘medical care is given at the jail. The jail's .-.
medical ‘beds have heen fully utilized for many years but ~~
have not been. licensed. ‘We are currently in the process of
seeking Ticensurc. —

Due to our uniqueness, we must concern ourselves with not
-only the medical aspects of licensure but also Share the = .-
responsibility with custody for the safety and security of .
a]] inmates. We are therefore requesting program flexibility”
in the following areas. A justification for each is includea.*
A. Handrails and Grab Bars

Handrails in corridors and grab bars in all patient.

Showers and toilets pose a problem since inmates can
detach these items from the walls and use them as

ATTACH EST > UMCER 17
1tE

SOIGESE ac. TOMM rat me tn me eee eee eee

     

 
 

 

 

 
  

    

Mary Jane/Mo

injury: due to the: unavailability of handrails or
* grab bars. Be

certain areas of the building some rooms do not.
- The reason is that these windows caused major

of inmates. Contraband, such as weapons and illegal
drugs, have entered the facility regardless of how —

|. Threat: of loss of life and limb has been experienced
. endangering drugs throughout the facility. It is

_ of the’ substance involved, by drawing all of our

Windows in some areas has proved helpful in reducing

_85 Square feet to 110 square feet and the redesigning

-Filed 11/22/10: Page 53 of 7

  
 

  
 

ore -

    

“pa
racks and
“deal w
ulation, it is almost a daily
occurrence to “have combative confrontations in
corridors and bath: areas; thereby, exposing and
increasing the incidence of: personal injury from
unwarranted protrusions from the walls. For your.
information, we have never experienced an inmate

       

  

Windows
While“the majority of our rooms have windows, in

problems relating to security and health maintenance

Cleverly windows have been designed to prevent this.

because of. weapons and the illegal trafficking of
large.quantities of drugs accessible via windows,
This has resulted -in caches of illegal and life

 

not uncommon to have an entire dorm under the a
influence of an unknown substance. When this occurs,
it taxes our medica] section, depending on the potency

resources to emergency response level, thereby reducing
patient care in other, less critical areas. Eliminating

the incidence of illegal drug abuse and also potential
for inmate and personne] injuries due to weapons,

Room Size
The upgrading of single room size from our average of

of wards to meet code is tantamont to the construction

ATTACHUENT its BER 17 ‘(co-+)

11¢

 
  
    

   

 

2 €as6 2: 75200-0411 1.bDP

 
     
    

Mary Jane Moore
ye. Ogtober. 27, 1981

 

   
 

2 onomics and “logistics. Once apa
the building was built as ajail. The average.
hospital ‘stay for. an-inmate/patient i ja
‘medical.facility..is three (3) days, ts
. psychological effects of less than minimum floor.
Space has negligible impact. (San Quentin State
Prison was granted program flexibility in this:
area. Their-single rooms measured 7 feet by 8
feet, totaling 56 square feet, approximately -
25-30 square feet less than our average room.)....
‘Tf the opportunity ever arises whereby another
health care facility is erected for inmates .
within our County Jail System, floor space meeting
licensure requirements «i]] be met.

he have clesely reviewed the structural requirements of
.. Title 22 and will attempt to meet the majority of the
“patient=safety oriented sections. However, for those
sections. that effect the security and welfare of al}
individuals in our care, we request that. you consider our _
‘uniquenéss by granting program flexibility in the areas ne
have listed. We would again point out that «hile the li-
- censure. request is nen, we have been Operating medical wards.
‘in this: correctional facility for a number of years. a

Sincerely, |
PETER J... PITCHESS, SAERIET oe me
Lm / Lerma oe
BOXNIE NORMAX, DIRECTOR
“MEDICAL. SERVICES
~BNica
cet Robert Mitchell
. Pavle Botica.

Dianna Estes
File

 

ATTACH ET TURIZER AF Ceon*)

Ane

 
lorman.
-Departe nt of Sheriff =

in response to your letter of October 27, 1981, regarding

 

requests: ‘for. Program. flexibility in three areas of physical Pant

| -Fequirenents.

We have reviewed your justification for each of the requests, and

with consideration of the fact that your facility is also a
correctional institution the rationale is understandable.

‘Approval ‘of the request for program flexibility for CoA. C., Title
22, Division 5, Chapter 3, Section 726451 (provision Yor handrails)
and Section 72647 (provision for grab bars) is granted.

Approval of request for program flexibility for C.A.C. Title 24
Part 6,-Division 717, Part 1, Chapter lL Section T17-064 (windows)

is. granted.

~ Approval of. request for program flexibility. for C,A,C. Title 2
‘Division: 5, Chapter 2, Section 72623 (a) (2) (room size) is granted.

Pursuant to Section m1z7(e) and 72221(b) a ‘copy of approval for’ ..
requests for program flexibility is. required to be posted adjacent. -

to the license.

Sincerely,

 

OM, Kotula -

District Administrator

ec: Robert Mitchell
Pavie Botica
James Lahana

MK/tb

c.1

ATTACH. ah PUActR 13

1?l

fear. 6-3

 

 

_y

RECEIVED .*.
DEC 240881
BONNIE NORMAN - 7 4

 
  
  
 

"Case 2: fo “CVE AIT EDDES Document 252-2 Filed 11/22/10 Page 56 of 49 Page ID #: S578
Se —l 29)73_

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

| ST ie ONG ate tee
- fas Onte Qe. er Binz. Betra Qaa cat 42%)

(as) S592 400} —.
oo cand Jagquesded Le Seek “SN we icons - “~ woorn,

_ 3.0 ene . \ Whe. Vhoare woes Te \oncer Ven ing ee
“est Gretlthy Wad Conese Che Pin Peas ose

4 Lo owe egg \teion Qe \eeean? eo Senge a
a = — esta. as “Ve. Sh ae wor. “Tn. Qed

  
 

 

  

 

 

 

 

 

 

e _ — NePy a me Mess - We a. \nan vehsow xa call =

a ‘ehtcn_Anl os ey oCCur.,

 

2 hase my are ce. Wo aH oe a
4 —___+ — sfafea (§iwes.) — “in We. Pee’ ’ on
eT fastga Cod) — " ak Sh. Sats Burlroce. s Bae
8 =e in : Be tu\bng jovh_arons, Gro

 

ylaalea AD Rew\ouren %

Esch ome.” “3. Awnse. ealed, Shes WE, Sema Renee i TO
pers Gr oo C Conyers | aon OUST ex dem Mew.

re on seq \o Se me At Wo ee,

 

ee KW ._}eeasson. Qoe Condedin *. DPR, fa te.

fo rote oh whol _ tk woe. ora_a 2 Tt XQ.
Ages ar roceor. A uo hey © Sheers pan \o

fhe be en he Goes wrens femaseds oe

ATTA I

 

 

 

 

:

| 1" “tad

1>>
Gase 2:75-cv-04111-DDP Doggment 252-2. Filed 11/22/10 ray of 79 Page ID #:3321

County of Los Angeles

Office of the Sheriff i
SHERMAN BLOCK, SHERIFF |

PETERS MTCRESS “atennr

 

Los Angeles, California 90012

March 255.1982

 

Mr. Mitchel Kotula, District Administrator
Licensing and Certification Division

State Department of Health Services

28 Civic Center Plaza, Room 850

Santa Ana, California 92701

Dear Mr. Kotula:

On July 15, 1980, an on-site inspection of the Men's Medical
Facility at Central Jail, Los Angeles County, was conducted

by @ team of architects from the County Engineer-Division of —
Facilities Development. This inspection was a part of the

jails ongoing effort to meet State licensure requirements.

A written report from the inspection team is attached to this
letter. - ~ ,

 

We have successfully dealt with the majority of these areas.

Of the remainder that have to be completed for licensure, only
one is a cause of concern (re-surfacing the painted block walls).
While we appreciate the program flexibility given to our facility
up to now, we find it necessary to additionally request program
flexibility for C.A.C. Title 24, Part 6, Division T-17, Part 1,
Chapter 1, Section T-17-062 (b} (walls). " La

We are most desirous of being licensed and agree, in principle,
with this structural safeguard, However, we question the prac-
ticality or necessity of its application to our facility due to.
the unique environment of this location. We are a health facility
operating within the concrete block walls of a county jail whose
primary function is the security housing of persons remanded to
the custody of the Sheriff of Los Angeles County. Comprehensive |
health care on the level of a Skilled Nursing Facility is provided
to a daily census of 300 plus inmates. We are not involved with
Surgery nor acute care; these problems are referred to LAC-USC
Medical Center. In addition, we have experienced no incidence

of infectious outbreak inspite of the fact that we have existed

as a health care provider in this setting with its bleck walls

for 17 years.

Crman Bloch, Sheriff
far te are ead e.
 

 

We have investigated various methods to accomplish what is
required by code and the minimum estimate to re-surface the
walls is $150,000. Since there remains another two areas

.. which will require significant expenditures, we feel that the —
dollar requirement for the walls is problematical and unnecessary...

If there is any reason that you question your ability to approve
this request, we would appreciate being able to present our
justification for this program flexibility at a formal hearing
before the appropriate hearing board.

Sincerely,

SHERMAN BLOCK, SHERIFF

BONNIE NORMAN, DIRECTOR
“MEDICAL SERVICES.

BN: DE:ca
Attachment
cc: William H. Kern
Armon H. Toomajian, M.D.

Kelsea K. Baggett, R.N.
Dianna Estes, R.N.

ATTACH

Tv

 

2 DM feash) .

March 25, 1982

 
Ti o Oct ment 252-2 Filed:14/22/10 ‘Page 59 of 79 Page ID#:3322:-
— . Gounty of Los Angeles

2 Short
OFRRAN Bibcxs SHth ee
. pres J PITCHES. gremer EMERITUS
<- Los Angeles, California 90012

  

ap Mr

   

     
   

42>
—

  

 

5. Me Robert Mitchell
28 State

.-’ “Health:Planning:and Development
- 7V4-P Street, Room 977 -
Sacramento, California 95814

 

 

“= Office of Statewide

   

"The remaining areas of facility deficiencies and associated costs
for Los Angeles. County Men's Centrat Jail licensure are estimated
cas follows:

( cayal sce leteccceetbeceerertees vegececeees $150,000 —
Flooring. s+ 07+* ee eeeee vee eeseeeeeeees 80,000
~ Plumbing. ......--ee- ana cenee ees eeneees .-_ 27,900
- - $257 ,000

~ -&The total above ($257,000) would be reduced by $150,000 if
_. our waiver request regarding walls is approved. This would
“leave us with a deficiency repair cost of $107,000.

Thank you for consideration of the above. We will be awaiting your
_ response. - : YOUr

"Sincerely,

° SHERMAN BLOCK, SHERIFF

‘s  Loennie (Jtaman
“BONNIE NORMAN, DIRECTOR
MEDICAL SERVICES
_ BN/ca -

cc: William H, Kern
Armon H. ‘Toomajian, M.D.
Kelsea K. Baggett, R.N.
Dianna Estes, R.N.

ATTACHUENT UUSDER 22
135

- . SHERMAN BLOCK, SHERIFF
: aOTeESE 4 ewy NST SNS TS PETER. Pomp ad bebe es EMERITUS
 

July 12,.1982

 

~ Dear. Ms. Norman:

This wil: ‘acknowledge receipt of the referenced application for a>
certificate of need. It is noted that the required fees did not
accompany the application. This project is subject to an application
fee of ..$500.00 and a project fee of. $1,000.00.

‘Review of. your application for completeness cannot commence until ae
fee of a, 500.00 has been paid.

Sincerely,

~ d Ge “AM ecege-. Acting Chief
Division of Certificate of Need

cc: Los Angeles Health Planning
and Development Agency
Bob Mitchel]

 

ATTACH ENT CUNEER 23 RECEIVED
yor ‘JUL 1.5 1982
. . BONNIE NORMAN
 

  
   

   

duly 12, 1982

 

 
 
   
 

_Ms."B8onnie Norman . SS
ospital. antiatrator: coe :
os Angeles Cow Sheriff’ s. 5 Departnent

41 Bauchet .. tre Does

   

    
 
  

 

~ LOS ANGELES COUNTY SYBIL BRAND: INSTITUTE: ve
FOR WOMEN HOSPITAL .

o Dear. “Ms. Norman:

This will acknowledge. receipt of the referenced application for

a certificate of need. It sis noted that the required application:
fee did not accompany the application. Section 90415 of Division 7
of Title 22, California Administrative Code mandates that a base ~ —
fee of $500 accompany the application. Since this is allegedly ano.
cost. ‘project, there will be no project fee.

Review of your application for completeness cannot commence until: the”
required fee is received.

Sincerely Ys

- : , ,
Ki 04 Lege Acting Chief

Division of Certificate of Need

cc: ‘Los Angeles Health Planning
“and Development Agency re
<Bob Mitchel] } wee

¥
i RECEIVED
gut 27 82
BONNIE NORMAN
ATTACH ELT "USER 23 (cont)

~ 127
Gags REP EBMD o ueni BEE2 Filed 11/22/10." Page
Ee oe Fed 15a Pe ggge2 Of 79 Pagel #:3326. QL

  
     

 

Ce  @goeNty OF tL
Ee Be RiFE'S DEPARTMEN oe
DATE July 28, 1982

Noe oe . OFFICE CORRESPONDENCE FILE HO.

TO: DAVID C, STONE, CHIEF FISCAL OFFI:
FISCAL SERVICES BUREAB-

   
 

       
 

 

HOSPITAL LICENSURE
WOMEN HOSPITAL

    
    

  
 
    
 
 
 

 

 
   
  

ré aware, we have been ordered by the Court to seek licensure. -.
gh a “certificate of need" process.

 
 

Ue
sspect of licensure is to 90 throu ficate of nee
‘Me have filed the certificate of need application with the. State and they ©
iow advise us that. there-is.a $500.00 application fee. and a $1,000.00:
for Central.Jail. In addition, there is a $500.00 application ©

at =fee due for Sybil Brand Institute for Women. ve

=] talked with Mike Henry and he said it would appear that we will have
to pay it to show our continued effort to become licensed. When I -
oo _asked where the dollars were to come from, the answer was “Sheriff's
budget", so Dave, I leave it to you. I will be gone three weeks on
~-yacation so if you. have any questions please contact. Bi11 Kern.

  
 

    
 
  
   

    
 

<project: fee

2 "Thank you for your assistance.

 

= BNtea
cer Fred E. Stemrich , te hia

William H. Kern
‘Bianna Estes

 

ATTACHMENT. DUCSER 22

wre

We

 
 

 

PLANNING AND DEVELOPMENT ©

. wis 45 wee

‘Date. of Issuance: October 15, 1982 ..
: ertificate No.: 806
‘Date of. Expiration: April 15, “198:

- Application No. : 82-197. oe

 

This.is. to inform 9 you that you have been issued CERTIFICATE OF NEED
number’806, approved under the provisions of Section 437.10 of the.
Health and Safety Code and the regulations pertaining thereto. For
all:intents and: purposes this. Jetter shall serve as your Certificate

of Need. Your Certificate is pertinent only to the project described ,
be ow. :

- Licensure. of 276 beds of the institution as an acute psychiat ric.
og facility with. a bed designation of 80 acute psychiatric beds and
8 196: skilled fursing beds. Det

 

- ” Estimated cost of the project is $262,140.

In accordance with. Section 438.6(b) of the Health and Safety Code, . oo
this Certificate shall expire on the date indicated above unless: #2 ye:

(1). The certificate holder has commenced the project covered by the.
= certificate and is diligently pursuing: ‘the same to completion, -
as determined by the applicable regulations, or

(2). The duration of the certificate has been extended by the State ao
- upon a showing of good cause. However, such extension shall not
cumulatively exceed a period of 12 months beyond the original —
expiration date of the certificate. ©

ATTACHE UCT OTE DP

pu - A
eo itert Ficate of Need an
oF inancialasststance*or” ‘for zoning or other loc
approv 1 for the Ts

     

You are: also rem ed that; should your™ project include construction,
in accordance,with Section 717-016 of Division:117, Part 6 of oe
Title.24, California Administrative Code, plans: and specifications
must be filed with: and approved by the Division of Facilities

Deve lopment before: construction may commence. -

Sincerely,

  

Director ~

   

CC: Licensing and Certification Divisfon -
District-Office -.
“Division ‘of Facilities Development. - os S: ee
.,... Headquarters and:District Office < ee
Department of Health Services oo ~ Se
: Audit Section

QDKD:RFM:lam |

 

Taye

BONNIE RORMAN \

i (cont) ,

.
+

ATTACHED IT purteen ee:

136
 
   
  
     
 

:75-cv-G#11.1-DDP . Docent 252-2 “Filed 11/22/10 Page @or 79 Page ID #:3329

 

‘OFFICE OF STATEWIDE HEALTH PLANNING AND DEVELOPMENT —_
ae noe tgs " me oo .
SACUMENTO. CQ, PRE |

(916) 445-1945...

 
 
  

 
  
   
   
  
     

Date of Issuance: October 15, 1982.

tificate Now: 807) fs
e of Expiration: April 15,° 1984":
lication No.: . 82-196

 

  
  

5 Di dae on +
i i aver saat ae a oy oe a Lien q
A as 4 en. oe mei at a pare A us i + a4 pie = Col fan yp
ann ospitalaAdmin’s FA LO re mincgwanas mth ory
SepzgLoszAnge les ,County,sheritf,|s Department, ony
we A dl: % ee OA “ ee

 

 

     
 

RES
Dear Hs. Norman:

This is-to inform you that you have been issued CERTIFICATE OF NEED
number 807, approved under the provisions of. Section 437.10 of the _
Health and Safety Code and the regulations pertaining thereto. For
all intents and purposes this letter shall serve as your Certificate
of Need. Your Certificate is pertinent, only to the project descr ibed

below. :

> Licensure of 28 beds of the institution as an acute psychiatric
facility with a bed designation of 12 acute psychiatric.beds and
16 ‘skilled nursing beds. -

- There -is-no.cost for the. project. _ -
In accordance. with Section 438.6(b) of the Health and Safety Code,
this Certificate shall expire on the date indicated above unless:

(1) The certificate holder has commenced the project covered by the
. certificate and is diligently pursuing-the same to completion,
_as determined by the applicable regulations, or

(2) The duration of the certificate has been extended by the State
upon a showing of good cause. However, such extension shall not

cumulatively exceed a period of 12 months beyond the original.
expiration date of the certificate. :

ATTACH SRT PMUMCER 25 (cont)

131
f. Case 2:75-cv-04411-DDP Do Pent 252-2 Filed 11/22/10: Page@B of 79 Page ID #:3330°

    
       

 

     
  

   
  

 

     

 

“Section 438.5{c) and 438.6(a)- of the Health -and
“ofa project which does not comply with
Ieconst itute grounds: for revocation of La
ee st ak we Fr rv. ee a
a ace. o fe ie Core Pe ini AE, Re AF nae we A Oy F . eo -
Saprioter bificetesofeneedsi senoteanvendorsement for federal or state 20
Pesto Fina Cial-assistance“or for ‘zoning or other local governmental” ==
adguecbern'47 approval for ‘the. project. ~*  r*="" ms oye ee ep R ES asa

 
    
             
        

You are also reminded that, should your “project include construction,

in accordance with Section T17-016 of Division TI7, Part 6 of © > 2%
‘Title=24, California Administrative Code, plans: and specifications =~
must be filed with and approved by the Division of Facilities —
Development before construction.may commence. %_ we TB

“ke Sincerely, os
oseph-D. Kv Diaz
Director fo “

 
  
  

   

ce: “Licensing and Certification Division - a
op District Office | Lo e oe Ene po
= Division of Facilities Development: - be SR Bey ae

~ Headquarters and District Office 2 |) Bes Bage mt ksse
Department of Health. Seryices a & Soe TE

. Audit Section Se a So sos

-QDKD:RFH: 1am

 

’

 

“RECEIVED L
OCT 19 1982
ATTACH ENT SUNDER 25 eons BONNIE NORMAN 4

*
f

13?

>

Tee
  
 
  

 

      

sument 252-2 Filed 11/22/10 Page ‘oe 79° Page. ID #:3331°"*

“County of Tos 3 Angeles
Offirr of th ‘Sher hesift

  
 
 

 

   

eo ie . Mitchel Kotula, District. Administrator
....bicensing and Certification Division
“State Department “of Health Services ©

‘28 Civic Center ‘Plaza, Room 850

Santa Ana, California 92701 -

  

  

‘Dear Mrs “Kotula:

On: July 15, 1980, an on-site inspection ‘of the Men's. Medical:
“Facility at Central Jail, Los Angeles County, was conducted. Seer
by a team of architects from the~ ‘County -Engineer-Division- of = oe
Facilities Development. This inspection was a part of the
“jails ongoing effort to meet State licensure requirements.:-

A written report from the inspection team is attached to this
letter. 2 ~

‘We have successfully dealt with the majority of these areas.

Of the remainder that have to be.completed for licensure, only
one is a cause of concern (re-surfacing ‘the painted block walls).
While we appreciate the program flexibility given to our: facility.
up to now, we find it necessary fo additionally request program
flexibility: for C.A.C. Title 24, Part 6; (Division T- 17, Part 1,
Chapter I, Section T-17-062 (b) - (walls) © oo be

We are most desirous of being licensed and agree, in principle,
with this structural safeguard. However, we question the prac-
ticality or necessity of its application to our facility due to
the unique environment of this location; We are a health facility
operating within the concrete block walks of a county jail whose
primary function is the security ‘housing of persons remanded to
the custody of the Sheriff of Los Angeles County. Comprehensive
health care on the level of a Skilled Nursing Facility is provided
to a daily census of 300 plus inmates. “We are not involved with
Surgery nor acute care; these problems are referred to LAC-USC
Medical Center. In addition, we have experienced no incidence.

of infectious outbreak inspite of the fact that we have existed
as a health care provider in this setting with its block walls
for 17 years.

| ATTACHUERT MLRISER 26
 

  

  
   
 

 

Mitchel :Kotula

 

ficant expenditure

  
  

Ss that you. questio

   
     

before ‘the: appropri te hearing board.

"Sincerely,

 

 

_ SHERMAN BLOCK, SHERIFF cys

    

BONNIE NORMAN; DIRECTOR -
MEDICAL SERVICES, e

“BN:DE:ca

Attachment

cc: William He ‘Kern:
Arnon. H. toomaj ian, M.D.
Kelsea K. Baggett, R,N.
Dianna Estes, R. N.

 

 

ATTACH. ZIT UUESER 74 {cont}

134

Gio Bese

  
  
 
 
   
 
     

“March 25, 1982 .

he walls is” problenatical and unnecessary.

;owe-Would appreciate being ae to bility te
- justification: for this program flexibility at a formal hearing :

 

 
 

 
 

 

 

 

QuareTIt¥ 1:
REGUEBTES]

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

     
      
  

 

 

 

 

   
 
 

 

 

 

 

 

  

 

 

: Fenat> Paes a : ” ~~ ” —
ug “aff = . Aprroven — 4 jeaueo Receives - _ sora ee 4
W | ow es eT es gy

 

ATTACHE IC IT TRUSTE 27

 
  

» Case 2:75-cv-04711 pe’

7316 |

  
  

 

_ Medication Room

Docent 252-2 Filed 11/22/10 Page @i 79 PageiD #:3334

MEDICAL SERVICES WORK REQUEST

  

~ Deck Mount -~ R cab. - S/S

 
 
  

  

‘Utility: Roon

RE - Deck Mount - Metal Cab. . ‘single. unit

Kitchen ~- S/S wall Mount - single. unit

A

 
  
    
  

Treatment Room = ‘Deck Mount - wall Hung ‘- ‘porcelin

 

Treatment Room. beck Mount - po celin - wall Hung

Utility Room - Deck Mount - doub e s/si/s in double door |
counter SS .

 

wARD e090

BO74 nurse's Station “peck Mount .
e081 - Chaplain* S (Office - Deck Mount Single decor Cab. (Metal)
6050 * sputun Room = peck Mount ~ Meta Single Door Counter
Bucl Treatment Room - Deck Mount — Double Door
8095 Treatment Roon, ; - Beck Mount | = _ signte Door Cab. -

‘goa Sputum Room ~ “DeciMoultt co”

8097 Utility Room - Deck Mount - Metal Cab.

BUTE ‘Utility Roo - Deck Nount - Meta: Cab.

/eontinued/

 

 

 

ATTACHIERT tunmree 27 (cont)

é 136

 
  
    
 

  
 

ation . = Deck. Mount - = Raabe oo
: . > Sink.

“ Nurse’ Ss ‘Station - Deck Mount =~ Rx Cab. -

Dr. 's Examining Room - ~ Deck Mount - Porcelin Wall ‘Hung

 

“Treatment Room = Deck. Mount ~ Porcelin. wall’ “nung

~ Utility Room - Sterilizer

Treatment Room Deck Mount - ~ ‘Metal Counter”:

 

TTACH: UIT FAE‘TER 27 Ceonrt)

 

7 . mo . .
 

 

‘a6UE re

COUNTY OF Los ANGEL

~ DEPARTMENTAL
SUPPLY REGUISITION
Division. BHSTRICT. WARD. ETC.

 
 
  

  
   
 

 
  
     
 

 

 

 

  

DESCRIPTION _

 

 

 

 

  

 

WORK ORDER REQUEST-RE-SUBMITZED
lease re 5 W.0. 02452"

 

 

    
 

 

" estinated but not Funded)

    
 

 

 

 

It is requested that Mechanical

Department provide labor and:

  
   

 

| suppiies - necessary to replace ‘one

  

 

 

 

 

 

“+ (1) faucet with a foot control _

  
   

 

con Hom ea.

 

 

pias onainks on Ward 7100 in the |

 

 

 

 

trafex-te Mechanical Departnént,

 

 

 

 

 

“J Estimate - #4415~-61 - Plumbing) .

 

 

 

 

| aL 20-83 -- |

Stavestas

M. -Townsend-:

 

approves —_______ teeuro —_.___- a

 

 

 

 

 

ATTACH ETT OUP Tn 23

 
 

 

    
    
    
    
   
 
 
 

Page 730179 Page ID #3337"

ee ——_ eee = aT +f = TOR Rt ne oes

  

- ‘county oF Los ANGELES
” MECHANICAL DEPARTMENT
__. -. REQUEST FOR WORK

    

 

 

 

 

 

 

 

. {BEPT, REQ..WO.,

13295-0245

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
   

Refer to Me chant

 

 

  
  
    

 

“Tt te vequeoted thitt Mechantoal Department provide [t+
‘services and-euppltes ‘necessary to replace one faucet :

De “apith afoot control valve on sinks:on Ward 8000 in the:

    
  
  

 

 

  
 

 

 

 

 

 

 

..( TT

 

 

 

L ESTIMATED TOTAL.

— _ = omDtcaTes MATES Toa COST
. : OmrimsE CRAFT . a

COMPLETED BY Bogen pate ~ DATE oo

  
 

 

. “cE a actauet 2
THIS WORK oJTITLE |...
WH BE. So
CHARGED TO" FiSta,

ACCOUNT ee
nuMetra : .

 

 

 

 

REQ. /D.3.0.
NUMBER

 

 

COMPLETION REPORT
REQUEST FOR WOAK
~ cancecLeoL)
compLeTeo (}

Work Specified obove hos been: (Check One)

 

 

AESPONSIOLE fe ce
> Oliv {SEC Amit OA, | AUTHONIZED SiGHATURE

 

— ae Poors: wo wos pe
ET a. ino .

 

 

 

 

 

 

 
 

 

 

Teeetiy crm

A mee

 

 

“SATS TeardeoR evs ur COOg
PUVA Uo wRUTE UO sata Yor3U0S
MOOS WUSEA aeones uo eostaes

ts . Aseeesceu neytsane PUT eeotasee

, @PYA0Id °ydeq ‘TROsUBYORN auya

senbex ey -3r *Busaemta - Te=StF

 

 

 

awnony nt: wi : : nOllaiN>Eia ' iy O2t8 Inde wm mee):

ster . . . 201 ? van Te35¢s0n Tree resy ALlSNOne

 

 

 

 

 

der-seotades TROTpen

. " S24ONW 807 ¢:
on WANG dO oo ™ mo

Oh ee

 
 

  

 

COUNTY OF LOS ANGELES

. MECHANICAL DEPARTMENT

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 

 

 

SEPT. a. xe - ": “Tsusowect a0. o —_
23295-02452 | 2762
_ (DEPARTMENT *

Sheriff's 16 205 5 CU/MED -

 

 

FORA CETAILS CONTACT. =
Marina Tamsend-

 

 

R equ EST FOR WORK NO.
0s. on TquiPuEnt wo. = [ESTIMATE WO. PROGRAM #O DATE
- Aesrousiee __ bost TsTuate "
€ oiv.Jsecdent en. fare

 

 

 

 

 

 

 

‘WORK LOCATION

_ Medical Services
- $41. Bauchet Street.
Log ‘Angeles

 

 

 

 

 

WORK DESCRIPTION

‘Plumbing.

It is requested tha
services

hospital area. —

Refer to Mechanical Deparment Batimate #4415-61 -

t Mechanical pepartment provide
and supplies. necessary
with a foot control valve on sinks on Ward 7100 in the oe

te replace one faucet.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CSTiIMATEH TOTAL COST

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

: *unDICATES
COMPLETED BY mie _ PRIME craft a
THIS WORK we " . suueer
wi. BE -
CHARGED TO +L FISCAL REQ. /0.8.0.
[vear NUMBER
COMPLETION REPORT
REQUEST FOR WORK NO.
Work Specified obove has been: CANCELLED Cf (Check One)
COMPLETED
REsPontiae
liv, Sec het] BA. | AUTHORIZED SiGuATURE DATE
ATTACH ELT | UCLER 2S (cont)
Case 2:75-cv-04111-DDP Dibc

Sema teers FTE

U

 

ent 252-2. Filéd 11/22/10

ee ee
COUNTY OF Los ANGELES

MECHANICAL DEPARTMENT

 

 

 

 

 

 

 

 

 

 

 

  

 

 

 

  

 

 

  

 

 

 

 

 

 

 

 

 

 

  
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

REQUEST FOR WORK NO.
es GF cpureMCat ESTIMATE wo. {PROGRAM wo. GATE
ae _RESPONSILE COST Etat .
TO BE COMPLETED BY REQUESTOR: bivfsec purer [ware | vason | ornee
| [oeet. ate. wo "[susomect “o Date
13295-02396 (2362 :
DEPARTMENT anes De 3
Sheriff's 16205 cUPMED. “Sf
FOR DETAILS CONTACT
Marian Townsend
WORK LOCATION , aw
v7
Central dail - yY
- 441 Bauchet Street ~ =
“Los Angeles
WORK STsCRPTiON
| Refer to Mechanical Department Estimate No. 4as- 8)
Item #6 (6a,:6b, & 6c) - Plumbing. . fe
It is requested that Mechanican Department provide \
services and supplies necessary to replace one faucet ° ——
with a foot control valve on sinks in the various ,
areas.of the hospital. , oe
| See attached list, ° ~ .
Justification: Necessary for hospital licensure . =f -
OE Ff 1pe at .
epheo $ ; 1s Ti
rv <a aoe
I ESTIMATED ToTa, Cost
#0 DICATER pad
— PALME CRAFT 8
ComPLETED BY DATE
THIS WORK 2 TTLe NOMBER /
Wik BT ~
CMaRGEO TO FISCAL REQ. /0.8.06.
.  » [YEAR KUMBER
. rv,
- a) Iv
COMPLETION REPORT a
REQUEST FOR WORK NO. at
SANC
Work Specified above hos been: | cucer.eo Lo (Check One)
RESPONSI OLE
Ov. SEC nit WR. | AUTHORIZED SIGMATURE 4 pons mapean on leo +) ATE
a9 ,

 

 
 

"Case 2:75-cv-04111-DDP Doctiment 252-2 Filed 11/22/10 eo 77 of 79. bile Paro a, ,

STATE OF CALIFORNIA— HEALTH AND —¥- AGENCY G. BROWN Govern:
~ 12 DEPARTMENT OF:HEALTH SERVICES = - : _ PER
. LICENSING AND CERTIFICATION pvision . oo ')
~ aera ANA, CALIFORNIA 92701 AN

*\ (724) 556-4001

 

August 1, 1983

Bonnie Norman
_ Director |
Medical Services Bureau
- “441 Bauchet Street oe os
- Los Angeles, CA 90012 . Co,

Dear Mra. Norman:

LICENSURE OF MEN'S AND WOMEN'S MEDICAL FACILITIES AT CENTRAL JAIL
’ LOS ANGELES COUNTY

This is a follow-up and confirmation of the telephone discuesion we had .
last Monday, July 25, 1983 regarding the licensing of the Men's and Vomen"s :
Medical Facilities at Central Jail, Los Angeles County.

. You stated at that time that the facilities would. be complete and ready

_ for a final inspection visit by thie Department within 30 days. It was

understood that the only remaining item for correction was the installa-
tion of foot or knee controle for handwash sinke in all nurses etattons,
utility rooms, exam and treatment Fooms, x-ray eultes, and kitchen and food
serving areas.

It ts requested that this office be contacted when the. medical facilities
at the. Central ‘jail are ready for inspection.

. Thank you for your cooperation.
Sincerely,

inn D. Keeee,
Supervising Health Facilities Representative

  

‘LDK:bht

ce: DD. Yanetta, Chief, Special Facilities Team
Ore King, HFR-N

OO |

! RECEIVED
Ab AUG S 1983
Nt ATTACHUEST rrr im ona BONNIE -NCRMAN

4
 

Case 2:75-cv- oat

FROm:

  

DDP @rowerecoFisdesaice tas of of 79 Page ID #3342. ~
SHERIFF'S DEPARTMENT - - Octover la, 198°

 

DATE
. OFFICE CORRESPONDENCE FILE NO.
CLAUDE FARRIS, LIEUTENANT BONNIE NORMAN, DIRECTOR

CENTRAL JAIL TO WepIcaL SERVICES

Pursuant to Commander Malone's request that the Logistics

operation examine the high cost estimate for the hospital

 sink-modification project, we have obtained the following

information.

My staff contacted Mr. Tom McAulpin the Mechanical .

Department employee. who prepared the estimates. He- pro-
vided a "typical® cost breakdown of one sink in ward 7100.

 

Item a , Cost
Foot control valve $ 90.00
Other plumbing parts 228.00

Sheet metal materials 20,00

~ $335.00 ~~. Total materials

cost

Plumbing labor (16 hours) $313.92

Sheet metal labor (unk. hours) 146.00

$159.92 Total labor cost

Total cost before overhead charge 1s $797.92

Overhead charge (78.18% x $797. 92)1s $623. 81
$1, 421.73 Total cost

The total cost for (1) typical sink, $1,421.73., 1s totally
unreasonable. Mr. McAulpin also stated that other sinks
will be more or less expensive depending on the amount of
work to _be done.

Based upon this information, it is suggested saat: you ‘pure

sue. the -department - obtaining an estimate from a private
plumbing contractor.

ATTACHE ET OUECER 30 -

et
 

 

Case 2:75-CV-04111-DDP “Document 252-2 Filed 11/22/10’ Page 79 of 79° Page ID #:3343 :

10
i
12
13
14
15
16
17
18
19
20
21

8

24

95

26

28

 

PROOF OF SERVICE BY MAIL

wendy Hagar declares: me

 

ol, ain. over the age of 18 years, not a party to this action: ‘and I

am employed in. the law offices of John 4 Hagar, Ira a 1 member ot

 

the _bar of this Court, in Los Angeles. County, California.

On January 4, °1984 I deposited in thes mail at Santa Monica, a m,
COPY. of the attached NOTICE OF MOTTON FOR MODIFICATION OF PEREMPTCRY
WRIT ‘OF MANDATE, POINTS “AND AUTHORITIES, - DECLARATION OF JOHN H,
HAGAR, JR., and EXHIBITS in a sealed envelope, with postage fuli-v

prepaid, addressed to:

PHILIP H. HICHOK’

Deputy County Counsel
Office of the County Counsel
648 Hall of Administration .
Los Angeles, CA 90012

“JAMES R. LAHANA - Seem
Deputy Attorneys General.
3580 Wilshire Blvd., Suite 800 -
-Los Angeles, CA 90010

 

 

I declare under penalty of perjury that the foregoing is true.ant
correct and that this declaration was executed on January 4, 1984 at

Santa Monica, California.

 

 

 

 
